Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 1 of
                                     25




                              Exhibit 1
                   US Pat. No. 10,862,307
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 2 of
                                     25

                                                                                                                                           US010862307B2


   ( 12) United States Patent                                                                            ( 10) Patent No .: US 10,862,307 B2
                                                                                                                                  Dec. 8 , 2020
            Cavness et al .                                                                              (45 ) Date of Patent :
   ( 54 ) SYSTEMS AND METHODS FOR                                                                   ( 56 )                                    References Cited
            GENERATING AND CONSUMING POWER
            FROM NATURAL GAS                                                                                                       U.S. PATENT DOCUMENTS
   ( 71 ) Applicant: Crusoe Energy Systems Inc. , Denver,                                                      7,998,227 B2                       8/2011 Mittricker
                      CO (US )                                                                                 8,070,863 B2                    12/2011 Tsangaris et al .
                                                                                                                                                       (Continued )
   ( 72 ) Inventors : Charles Cavness, Denver, CO (US ) ;                                                                    FOREIGN PATENT DOCUMENTS
                      Chase Lochmiller , Castle Rock , CO
                      (US ) ; Kenneth Parker , Denver, CO                                           WO                         2013022501 A1                   2/2013
                        ( US )
   ( 73 ) Assignee : Crusoe Energy Systems Inc. , Denver,                                                                            OTHER PUBLICATIONS
                      CO (US )                                                                      Bellusci , Michael : Why waste all that cheap Permian gas ? Make
   ( * ) Notice: Subject to any disclaimer, the term of this                                        some bitcoins with it , Apr. 2018 , accessed Aug. 16 , 2019 at
                      patent is extended or adjusted under 35                                       https://www.dallasnews.com/business/energy/2018/04/13/instead
                      U.S.C. 154 ( b ) by 0 days.                                                   flaring -cheap -permian -natural- gas-could -used -power-bitcoin -mining
                                                                                                    rigs .
   ( 21 ) Appl. No .: 16 /529,152                                                                   BTU Analytics, Bitcoin to BTUs : Cryptocurrency Impacts on
                                                                                                    Natural Gas , Jan. 3 , 2018 , accessed Aug. 16 , 2019 at https: //
   (22 ) Filed : Aug. 1 , 2019                                                                      btuanalytics.com/cryptocurrency-bitcoin-natural-gas/.
   ( 65 )               Prior Publication Data                                                                                ( Continued )
            US 2020/0040272 A1 Feb. 6 , 2020                                                      Primary Examiner Carlos Amaya
                 Related U.S. Application Data                                                    (74 ) Attorney, Agent, or Firm -Zeller IP Group PLLC ;
   ( 60 ) Provisional application No. 62 / 713,368 , filed on Aug.                                  Kyle M. Zeller
          1 , 2018 .
                                                                                                    (57 )                                          ABSTRACT
   ( 51 ) Int . CI.                                                                                 Systems and methods are provided to mitigate flaring of
            H02J 3/38                  ( 2006.01 )
            CIOL 3/10                  ( 2006.01 )                                                  natural gas . A natural gas processing system may process
                                 ( Continued )                                                      raw natural gas into a fuel gas stream that may be used to
   (52) U.S. CI.                                                                                    power any number of on - site power generation modules. In
            CPC             HO2J 3/38 ( 2013.01 ) ; CIOL 3/104                                      turn , the power generation modules may convert the fuel gas
                     (2013.01 ) ; E21B 43/16 ( 2013.01 ) ; GO6Q                                     stream into an electrical output , which may be employed to
                                              20/065 (2013.01 ) ;                                   power any number of distributed computing units housed
                           (Continued )                                                             within one or more mobile data centers. In certain embodi
   ( 58 ) Field of Classification Search                                                            ments, the distributed computing units may be adapted to
          CPC        CIOL 3/104 ; E21B 43/16 ; G06Q 20/065;                                         mine cryptocurrency or perform other distributed computing
                         G06Q 2220/00 ; H02J 2300/10 ; HO2J                                         tasks to generate revenue .
                                   3/40 ; HO2J 3/38 ; HO2J 3/381
          See application file for complete search history .                                                                       20 Claims , 6 Drawing Sheets
                                                                                                                               100


                                                       110
                                                                                                                              V
                                                                          Natural Gas             Electrical Power                       Distributed
                                                             101          Processing      102         Generation             105         Computing
                                                       WHA                  System                      System                             System
                                                                             120                         130                                149
                                                                   181                          182                                183




                                             Monitoring &                                 Network                                    Communication
                                            Control System                                  150                                           System
                                                 180                                                                                        165




                                                 185
                                                                         Client Devices                      Third - Party
                                                                              169                             Systems
                                                                                                                 170
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 3 of
                                     25


                                                        US 10,862,307 B2
                                                                 Page 2

   ( 51 ) Int . Ci .                                                                     OTHER PUBLICATIONS
             GO6Q 20/06             ( 2012.01 )
             E21B 43/16             ( 2006.01 )                       Emmanuel, Ogwu Osaemezu : Texas Oil Producers Could Channel
             HO2J 3/40              ( 2006.01 )                       Excess Gas into Bitcoin Mining Operations, Apr. 21 , 2018 , BTC
   (52) U.S. CI .                                                     Manager, accessed Aug. 16 , 2019 at https://btcmanager.com/texas
             CPC            HO2J 3/40 ( 2013.01 ) ; G06Q 2220/00      oil-producers - could -channel- excess- gas- into -bitcoin -mining
                             (2013.01 ) ; HO2J 2300/10 (2020.01 )     operations .
                                                                      International Search Report and Written Opinion issued for PCT /
   ( 56 )                    References Cited                         US2019 / 44646 , dated Oct. 11 , 2019 , 8 pp .
                                                                      Ray, Shaan : Cryptocurrency Strategies for Power and Energy Com
                       U.S. PATENT DOCUMENTS                          panies, Oct. 15 , 2017 , Medium , accessed Aug. 16 , 2019 at https: //
                                                                      techburst.io/cryptocurrency-strategies-for-power-and-energy-companies
            9,337,704 B1    5/2016 Leslie et al.                      198d0188e7da .
            9,637,433 B2    5/2017 Zubrin et al .                     Wilmoth , Josiah : Pipe Dream : Analysts Mull Natural Gas - Powered
            9,673,632 B1    6/2017 Ramesh et al .                     Bitcoin Mining Operation, Apr. 16 , 2018 , CCN , accessed Aug. 16 ,
            9,719,024 B2    8/2017 Young et al .                      2019 at https://www.ccn.com/pipe-dream-analysts-mull-natural-gas
    2011/0115425 A1         5/2011 Olsson                             powered -bitcoin -mining -operation /.
    2014/0372772 A1        12/2014 McKnight et al .                   York , Larrie: Generator Ratings Explained , Frontier Power Prod
    2017/0218843 A1         8/2017 Oehring et al .                    ucts , Jan. 2016 , accessed Aug. 16 , 2019 at http://frontierpower.com/
    2017/0271701 Al         9/2017 Berlowitz et al .
    2018/0109112 Al         4/2018 Paine et al .                      wp -content/uploads/ 2016 /01/Generator-Ratings- Explained -by-Larrie
    2019/0022580 A1         1/2019 Muhsen                             York.pdf.
    2020/0006938 A1 *       1/2020 Torvund               HO2J 3/00
    2020/0051184 A1 *       2/2020 Barbour             HO4L 67/104    * cited by examiner
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 4 of
                                     25


   U.S. Patent                      Dec. 8 ,2 2020         Sheet 1 of 6                 US 10,862,307 B2



                                                                                        100


                 110



                                    Natural Gas                Electrical Power                   Distributed
                       101          Processing       102          Generation          105         Computing
                 WH                   System                       System                          System
                                        120                          130                             140
                             181                            182                             183




       Monitoring &                                  Network                                  Communication
      Control System                                   150
                                                                                                 System
           180                                                                                       155




           185
                                   Client Devices
                                                                       Third -Party
                                                                        Systems
                                        160                                 170




                                                     FIG . 1
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 5 of
                                     25


   U.S. Patent           Dec. 8 , 2020                        Sheet 2 of 6     US 10,862,307 B2

                                                  202

                                           MR|efrigeation odule 230     297




                   200
                                           Dehydrato Module     226     296




                                           Desulfrizaton   Module 224   295

                                                                              2
                                                                              .
                                                                              FIG

                                         RCO2emoval Module 222          294



                                           Compres Module       215     293


                                                                        292
                                           Separto Module       210
                                                                        291

                                 209          HX1201
                                                              HD
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 6 of
                                     25


   U.S. Patent          Dec. 8 ,2 2020         Sheet 3 of 6             US 10,862,307 B2




                                                        305

                                           Electrical
                300                      Transformation
                                            Module
                                             335


                                                 303


                                             Power            308   Backup Fuel
                                          Generation                  Supply
                                            Module                     337
                                              331

                                                 302

                                   Fuel Gas Supply Line
                                              320



                                            FIG . 3
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 7 of
                                     25


   U.S. Patent           Dec. 8 ,2 2020         Sheet 4 of 6      US 10,862,307 B2




         400                                                405

                                               Electrical
                                            Transformation
                                                Module
                                                 435


                                                     404

                                             Parallel Panel
                                                  460

                         403a                                          403b


                    Power           408                              Power
                  Generation                  Backup Fuel         Generation
                   Module
                                                Supply              Module
                    431a                          437                431b


                         402                                             402

                                          Fuel Gas Supply Line
                                                  420



                                                FIG . 4
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 8 of
                                     25


   U.S. Patent                  Dec. 8 ,2 2020     Sheet 5 of 6              US 10,862,307 B2




          500




                Mobile Data Center                                    Mobile Data Center
                       510

        Monitoring &            Comm .                        Monitoring &
          Control                                                                     Comm .
          System                System                            Control             System
            580                  555                              System



                       DCUS                                                  DCUS
                       520




           Power
                                Backup                                                Backup
          System                Power                             Power               Power
                                System                            System              System
            530                  540




                          505                                                   505




                                                 FIG . 5
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 9 of
                                     25


   U.S. Patent            Dec. 8 ,2 2020         Sheet 6 of 6      US 10,862,307 B2




        600




              Processor                                         Network Interface
                610                                                   660




                                            System Bus
                                               670




          System Memory                    Storage Media          Input/Output
                                                                    Interface
                620                            640                    680


                           Modules
                              650




                                              FIG . 6
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 10
                                    of 25


                                                       US 10,862,307 B2
                       1                                                                                2
            SYSTEMS AND METHODS FOR                                     “ Major Source Emitter” rules. Violations of state or federal
        GENERATING AND CONSUMING POWER                                  rules can result in oil wells being “ shut in , ” rejected permits
                    FROM NATURAL GAS                                    and / or significant cash fines.
                                                                     Stranded natural gas , particularly in the case where liq
              CROSS - REFERENCE TO RELATED                      5 uids-weighted wells are shut in due to gas takeaway con
                       APPLICATIONS                               straints, represents a very low - cost power generation oppor
                                                                  tunity . Stranded gas exists across most prominent shale
      The present application claims benefit of U.S. provisional fields today including in the D - J Basin , Permian Basin ,
   patent application No. 62/ 713,368 , titled “ Systems and Bakken, SCOOP /STACK , etc. Many oil and gas operators in
   Methods for Generating and Consuming Power from Natu- 10
   ral Gas,” filed Aug. 1 , 2018 , which is incorporated by pipeline
                                                                  gas  for
                                                                            -constrained environments readily offer their natural
                                                                            low  cost - even at a loss to the operator in some
   reference herein in its entirety.                                    cases so that they can produce oil , which often represents
                         BACKGROUND                                     the vast majority of a well's lifetime economics .
                                                                    15    One potential solution to the natural gas problem lies in
      This specification relates to enabling the utilization of raw distributed computing. Cryptocurrency is a booming asset
   natural gas , such as flare gas , stranded gas , and associated class with the combined market capitalization of digital
   gas for power generation. More specifically, the specifica- currencies surpassing $ 380 billion in July 2018. Cryptocur
   tion relates to on - site generation of electricity from natural rencies operate on a distributed system of computers “min
   gas to power modular processing units adapted to perform 20 ing ” the currencies essentially processing the underlying
   distributed computing tasks .                                       algorithms to continuously verify transactions and account
      Extracting oil from unconventional resources , such as balances. The crypto mining process is a significant industry
   shale gas formations, through the combination of horizontal in its own right, projected to reach a value of $ 39 billion by
   drilling and hydraulic fracturing has increased at a rapid 2025 with a projected CAGR of 29.7 % .
   pace in recent years. The Bakken , Powder River Basin , 25 This high - growth industry requires innovative and inex
   Denver Julesburg (“ D - J” ) Basin , North Park Basin , and pensive electricity sources as it requires enormous amounts
   Permian Basin are just some of the important “ plays ” in the of power — approximately 29 TWh of electricity per year on
   United States . A “ play ” is the geographic area underlain by a global basis . For perspective, cryptocurrency mining con
   a gas- or oil - containing geologic formation .
      Development of these gas plays and other unconventional 30 sumes         more power annually than 159 countries, including
   resources presents significant potential for economic devel typically, the
                                                                       Hungary    Ireland, Nigeria or Slovakia . Indeed , electricity is
                                                                                     single largest lifetime cost to a cryptocurrency
   opment and energy independence, but also presents the
   potential for environmental impacts on nd , water and air. mining           operation, with power costs offsetting approximately
   For example, although oil production represents the most 30Accordingly % of total mining revenues in the US .
                                                                                       , there remains a need for systems and meth
   important source of revenue for a given well , most wells also 35 ods for generating       electricity from natural gas produced
   produce natural gas as a low - value byproduct. Unfortu from oil wells . It would             be beneficial if such electricity could
   nately , the liquids- rich natural gas byproduct often cannot be
   economically transported by trucks or trains from remote be produced and consumed on - site , for example, by using it
   well locations. Although such natural gases could be trans- to operate power -intensive, modular processing units . It
   ported via pipelines, many oil and natural gas wells are 40 would be further beneficial if such processing units could be
   located beyond the reach of such infrastructure. Absent gas employed to mine cryptocurrency or perform other distrib
   pipeline infrastructure, oil well operators must either “ vent ” uted computing tasks to generate additional revenue .
   or “ flare” produced gasses for safety reasons . Venting is the
   controlled release of natural gases into the atmosphere in the                                SUMMARY
   course of oil and gas production operations, however natural 45
   gas accumulations around the wellbore create significant               In accordance with the foregoing objectives and others ,
   safety hazards. Flaring is the controlled burning of natural exemplary systems and methods are disclosed herein to
   gas produced in association with oil in the course of routine convert raw natural gas into a fuel gas stream that may be
   oil and gas production operations, and is designed to mini- used to power any number of on - site power generation
   mize the safety and environmental risks associated with 50 modules . In turn , the power generation modules may convert
   venting uncombusted natural gas .                                   the fuel gas stream into electricity, which may be employed
      As of April 2016 , the NOAA estimates that there are over to power any number of modular distributed computing
   6,200 individual flares in the United States , which burn units. In certain embodiments , the distributed computing
   about 35 billion ft3 of natural gas annually enough to units may be adapted to mine cryptocurrency or perform
   supply about 6 million homes . Such large - scale flaring of 55 other distributed computing tasks to generate revenue .
   natural gas has raised serious environmental and health                In one embodiment, a flare mitigation system is provided.
   concerns and various state and federal regulators have begun Such system may include an electrical power generation
   to take action by implementing strict regulations and system , which may include a power generation module
   enforcement policies . For example , Colorado generally lim- adapted to : receive a fuel gas stream , such as a fuel gas
   its flaring to 60 days and many new well permits require 60 associated with a heat value of at least about 1,000 Btu / scf;
   producers to have a natural gas offtake solution prior to and consume the fuel gas stream to generate a high -voltage
   production; North Dakota has recently implemented a electrical output associated with a first voltage . The electri
   requirement that 90% of associated gas be captured by 2020 ; cal power generation system may also include an electrical
   and Texas only allows new wells to flare for 10 days before transformation module in electrical communication with the
   an additional 45 - day permit must be obtained . The EPA has 65 power generation module, the electrical transformation
   also implemented flaring regulations where sites that exceed module adapted to : receive the high -voltage electrical output
   100 tons per year of VOC , CO or NOX trigger Title V                 generated by the power generation module ; and transform
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 11
                                    of 25


                                                       US 10,862,307 B2
                                 3                                                                 4
   the high -voltage electrical output into a low -voltage electri- satellite antennas in order to provide a network . Moreover,
   cal output associated with a second voltage that is lower than the distributed computing system may include a first mobile
   the first voltage.                                                 data center having an enclosure defining an interior space ; a
      The flare mitigation system may also include a distributed plurality of distributed computing units located within the
   computing system powered by the electrical power genera- 5 interior space of the enclosure , each of the plurality of
   tion system . The distributed computing system may include distributed computing units in communication with the
   a communications system with one or more data satellite network ; and a power system located at least partially within
   antennas in order to provide a network ; and a first mobile the interior space of the enclosure , the power system in
   data center. The mobile data center may include an enclosure electrical communication with the electrical transformation
   defining an interior space ; a plurality of distributed comput- 10 module and the plurality of distributed computing units such
   ing units located within the interior space of the enclosure , that the power system receives the low -voltage electrical
   each of the plurality of distributed computing units in output and powers each of the plurality of distributed
   communication with the network ; and a power system computing units .
   located at least partially within the interior space of the          The details of one or more embodiments of the subject
   enclosure, the power system in electrical communication 15 matter of this specification are set forth in the accompanying
   with the electrical transformation module and the plurality drawings and the description below . Other features, aspects,
   of distributed computing units such that the power system and advantages of the subject matter will become apparent
   receives the low -voltage electrical output and powers each from the description, the drawings, and the claims .
   of the plurality of distributed computing units .
      In some cases , the power generation module may be an 20              BRIEF DESCRIPTION OF THE DRAWINGS
   engine - type generator that generates a high - voltage electri
   cal output of from about 70 kW to about 2 MW (e.g. , from               FIG . 1 shows an exemplary flare mitigation system 100
   about 70 kW to about 300 kW , from about 300 kW to about according to an embodiment.
   400 kW , 400 kW to about 1 MW , or from about 1 MW to                   FIG . 2 shows an exemplary natural gas processing system
   about 2 MW ) . The first voltage of the high - voltage electrical 25 200 according to an embodiment.
   output may be from about 480 V to about 4.16 kV . And the               FIG . 3 shows an exemplary electrical power generation
   second voltage of the low - voltage electrical output may be system 300 comprising a power generation module 331 in
   from about 208 V to about 240 V.                                     electrical communication with an electrical transformation
     In other cases , the power generation module may be a            module 335 .
   turbine - type generator that generates a high -voltage electri- 30 FIG . 4 shows another exemplary electrical power genera
   cal output of from about 2 MW to about 30 MW . In such tion system 400 comprising a plurality of power generation
   cases , the first voltage of the high -voltage electrical output modules ( 431a , 431b ) in electrical communication with an
   may be from about 4.16 kV to about 12 kV . And the second electrical transformation module 435 via a parallel panel
   voltage of the low -voltage electrical output may be from 460 .
   about 208 V to about 240 V.                                     35 FIG . 5 shows an exemplary distributed computing system
      In another embodiment, a flare mitigation system is 500 according to an embodiment.
   provided . The system may include an electrical power              FIG . 6 shows an exemplary computing machine 600 and
   generation system having a first power generation module modules 650 according to an embodiment.
   and a second power generation module . The first power
   generation module may be adapted to receive a first fuel gas 40                  DETAILED DESCRIPTION
   stream , such as a fuel gas associated with a heat value of at
   least about 1,000 Btu / scf, and to consume the fuel gas stream System Overview
   to generate a first high -voltage electrical output associated       Referring to FIG . 1 , an exemplary flare mitigation system
   with a first voltage . The second power generation module 100 according to an embodiment is illustrated . As shown,
   may be adapted to receive a second fuel gas stream including 45 the system 100 may comprise a natural gas processing
   the fuel gas , and to consume the second fuel gas stream to system 120 , an electrical power generation system 130 , a
   generate a second high -voltage electrical output associated distributed computing system 140 , a communication system
   with the first voltage.                                            155 and a monitoring and control system 180 .
      The electrical power generation system may also include           In one embodiment, the flare mitigation system 100 may
   a parallel panel in electrical communication with the first 50 comprise a natural gas processing system 120 adapted to
   power generation module and the second power generation receive a raw natural gas stream 101 from one or more
   module . The parallel panel may be adapted to receive the wellheads 110 in an oil and /or gas reservoir. The natural gas
   first and second high -voltage electrical outputs; and combine processing system 120 is generally adapted to convert the
   and / or synchronize the first and second high -voltage elec- received raw natural gas 101 into a fuel gas stream 102 that
   trical outputs into a combined high -voltage electrical output. 55 may be introduced to an electrical power generation system
      The electrical power generation system may also include 130. As discussed in detail below with respect to FIG . 2 , the
   an electrical transformation module in electrical communi- natural gas processing system 120 may employ a separator
   cation with the parallel panel. The electrical transformation module and, optionally, any number of additional modules
   module may be adapted to receive the combined high- (e.g. , a compressor module, a carbon dioxide removal mod
   voltage electrical output; and transform the combined high- 60 ule , a desulfurization module and / or a refrigeration module )
   voltage electrical output into a low - voltage electrical output to produce a fuel gas stream 102 meeting the specific
   associated with a second voltage that is lower than the first requirements of the electrical power generation system 130
   voltage .                                                          and any number of secondary streams.
      The flare mitigation system may further include a distrib-        The electrical power generation system 130 generally
   uted computing system powered by the electrical power 65 comprises any number of power generation modules adapted
   generation system . The distributed computing system may to consume the fuel gas 102 and convert the same into
   include a communications system having one or more data electrical power . As discussed in detail below with respect to
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 12
                                    of 25


                                                      US 10,862,307 B2
                                 5                                                                  6
   FIGS . 3-4 , each power generation module may be in elec-          mobile data centers and / or may be pole -mounted into the
   trical communication with an electrical transformation mod-        ground nearby such mobile data centers . A typical configu
   ule adapted to receive the electrical output of the power          ration is for two antennas to serve a single mobile data center
   generation module ( s ) and convert the same into an electrical in order to provide reliability and redundancy ; however, a
   flow  105 that may be employed to power the electrical 5 single antenna may be sufficient depending on bandwidth
   components of a distributed computing system 140 .
     In one embodiment, the distributed computing system 140 requirements            and total DCU count . Alternatively, many
   may comprise any number distributed computing units a single mobile data) center
                                                                   ( e.g. , three or more  antennas may be mounted to a roof of
                                                                                                , and communications cables may
   ( “ DCUs” ) in electrical communication with the electrical        extend from the mobile data center to other nearby mobile
   power
   poweredgeneration system flow
            via the electrical 130, 105
                                    suchoutput
                                          that the
                                               by theDCUs  are. 10 data centers to provide a centralized communications solu
                                                       system
   The DCUs may comprise a modular computing installation , tionThe         .
                                                                                one or more data satellite antennas of the communi
   for example, a data center, cryptocurrency mine or graphics cation system           155 may be specified for continuous outdoor
   computing cell . And the DCUs are generally adapted to
   conduct any number of processing -intensive tasks. For 15 use          ,   and may be installed using robust mounting hardware to
   example, the DCUs may be employed to execute graphics ensure alignment even during heavy wind or other storms
   intensive distributed computing processes, artificial intelli common in the oilfield . Antenna modems may be housed
   gence ( " AI" ) research , machine learning model training, inside a mobile data center for warmth , security and weath
   data analysis, server functions, storage , virtual reality and / or erproofing, and such modems may be connected to the
   augmented reality applications, tasks relating to the Golem 20 power system of the mobile data center.
   Project, non - currency blockchain applications and / or cryp-        In one embodiment, the communication system 155 may
   tocurrency mining operations.                                       provide an internal network that includes automatic load
      In certain embodiments, the DCUs may be employed to balancing functionality such that bandwidth is allocated
   execute mathematical operations in relation to the mining of proportionately among all active antennas. In such embodi
   cryptocurrencies including computing the following hashing 25 ment, if a single antenna fails, the lost bandwidth is auto
   algorithms: SHA - 256 , ETHash , scrypt, CryptoNight, RIP- matically redistributed among all functioning antennas . This
   EMD160 , BLAKE256 , X11 , Dagger -Hashimoto , Equihash , is an important reliability feature for oilfield operations,
   LBRY, X13 , NXT, Lyra2RE , Qubit , Skein , Groest1, BOINC , where equipment failures due to storms are possible .
   X1 Igost, Scrypt -jane, Quark , Keccak , Scrypt- OG , X14 ,         In another embodiment, the antennas and satellite internet
   Axiom , Momentum , SHA - 512 , Yescrypt, Scrypt- N , Cun- 30 systems of the communication system 155 may be specified
   ningham , NISTS , Fresh Fresh , AES , 2Skein , Equilhash , based on the needs of the distributed computing system 140 ,
   KSHAKE320 , Sidechain , Lyra2RE, HybridScryptHash256 , with specific attention paid to bandwidth and latency
   Momentum , HEFTY1 , Skein - SHA2, Qubit , SpreadX11 , requirements. For lower bandwidth applications such as
   Pluck , and /or Fugue256 . Additionally or alternatively, the certain blockchain processing, cryptocurrency mining and /
   DCUs may be adapted to execute mathematical operations 35 or long - term bulk data processing jobs , high -orbit satellite
   in relation to training computationally intensive machine connectivity ranging from 10 MB / s to 100 MB / s may be
   learning, artificial intelligence, statistical or deep learning specified . For higher bandwidth or low latency requirements
   models , such as neural networks, recurrent neural networks, such as artificial intelligence model training, iterative dataset
   convolutional neural networks, generative adversarial net- download and boundary spamming projects, visual process
   works, gradient boosting machines , random forests, classi- 40 ing such as images or videos , natural language processing ,
   fication and regression trees , linear, polynomial , exponential iterative protein folding simulation jobs , videogaming, or
   and generalized linear regressions, logistic regression, rein- any other high capacity data streaming or rapid communi
   forcement learning, deep reinforcement learning, hyperpa- cation jobs , low - orbit satellites may be specified to provide
   rameter optimization, cross validation , support vector significantly increased speeds and reduced latency.
   machines , principal component analysis, singular value 45 In any event, the communication system 155 may provide
   decomposition, convex optimization , and / or independent a network 150 to which various components of the flare
   component analysis.                                              mitigation system 100 may be connected . The network 150
      As discussed in detail below with respect to FIG . 5 , the may include wide area networks (“ WAN ” ) , local area net
   distributed computing system 140 may comprise one or works (“LAN ” ), intranets, the Internet, wireless access net
   more mobile data centers, wherein each mobile data center 50 works, wired networks, mobile networks, telephone net
   houses a plurality of DCUs therein . In addition to the DCUS , works, optical networks, or combinations thereof. The
   each mobile data center may further house an electrical network 150 may be packet switched, circuit switched , of
   power system , one or more backup power systems, an any topology, and may use any communication protocol.
   environment control system , and / or various monitoring and Communication links within the network 150 may involve
   control equipment 183 .                                       55 various digital or an analog communication media such as
      In certain embodiments , the mobile data center ( and any fiber optic cables , free - space optics, waveguides, electrical
   electronic components contained therein ) may be in com- conductors, wireless links, antennas, radio - frequency com
   munication with a communication system 155. For example, munications, and so forth .
   the mobile data center may be in direct communication with         As shown , the flare mitigation system further 100 com
   the communication system 155 via a wired connection . As 60 prises a MC system 180 , which is generally adapted to
   another example, the DCUs may be in indirect communi- maintain processing conditions within acceptable opera
   cation with the communication system 155 via a network tional constraints throughout the system . Such constraints
   150 .                                                            may be determined by economic , practical, and / or safety
      In one embodiment, the communication system 155 may requirements. The MC system 180 may handle high -level
   comprise one or more data satellite antennas in communi- 65 operational control goals , low - level PID loops , communi
   cation with one or more high -orbit and / or low - orbit satel- cation with both local and remote operators, and communi
   lites . The antennas may be roof -mounted to one or more cation with both local and remote systems . The MC system
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 13
                                    of 25


                                                        US 10,862,307 B2
                                  7                                                                     8
   180 may also be in communication with ancillary systems,   environment. Such software may correspond to a file in a file
   such as storage systems , backup systems and / or power    system . A program can be stored in a portion of a file that
   generation systems.                                        holds other programs or data . For example, a program may
     In one embodiment, the MC system 180 may be in include one or more scripts stored in a markup language
   communication with various monitoring and control equip- 5 document; in a single file dedicated to the program in
   ment ( 181-183 ) , such as sensors and / or controllers , via the question ; or in multiple coordinated files ( e.g. , files that store
   network 150. Such monitoring and control equipment ( 181- one or more modules, sub programs, or portions of code ) .
   183 ) may be in further communication with various com-             Each of the MC system application ( s) and / or distributed
   ponents of the natural gas processing system 120 , the computing system application ( s) can be deployed and / or
   electrical power generation system 130 and / or the distrib- 10 executed on one or more computing machines that are
   uted computing system 140 , such that the MC system 18Q located at one site or distributed across multiple sites and
   may remotely monitor and control operating parameters interconnected by a communication network . In one
   throughout the flare mitigation system 100. Exemplary embodiment, an application may be installed on (or accessed
   operating parameters may include, but are not limited to , by ) one or more client devices 160 .
   profile of the raw natural gas supply, gas flow rate at various 15 In certain embodiments, the MC system 180 and / or the
   locations, gas pressure at various locations, temperature at client device 160 may be adapted to receive , determine,
   various locations, electrical output at one or more locations , record and / or transmit application information relating to
   electrical load at one or more locations , and / or others .      one or more components of the flare mitigation system 100 .
      As an example , the MC system 180 may determine a The application information may be received from and / or
   change in the profile, flow rate and / or pressure of the raw 20 transmitted to the natural gas processing system 120 , the
   natural gas 101 and then automatically modulate electrical electrical power generation system 130 and /or the distrib
   Iload of a mobile data center accordingly. And as another uted computing system 140 via , for example, monitoring
   example , the MC system 180 may automatically reduce a and /or control equipment ( 181 , 182 , 183 , respectively) in
   processing rate of one or more DCUs in response to receiv- communication with one or more components of such
   ing an indication that supply gas pressure has decreased . 25 systems and in further communication with the network 150 .
     In one embodiment, any number of users may access the Moreover, any of such application information may be
   MC system 180 and / or the distributed computing system               stored in and / or retrieved from one or more local or remote
   140 via a client device 160 in communication with the                 databases (e.g. , database 185 ) .
   network 150. Generally, a client device 160 may be any              In one embodiment, the MC system 180 may be con
   device capable of accessing such systems (e.g. , viaanativežnected to one or more third -party systems IÑO via the
   application or via a web browser ). Exemplary client devices network 150. Third -party systems 170 may store informa
   160 may include general purpose desktop computers, laptop tion in one or more databases that may be accessed by the
   computers , smartphones, and /or tablets . In other embodi- MC system 180. The MC system 180 may be capable of
   ments, client devices 160 may comprise virtual reality retrieving and / or storing information from third -party sys
   (“ VR ” ) and / or augmented reality ( “ AR ” ) hardware and 35 tems 170 , with or without user interaction . Moreover, the
   software, which allow users to provide input via physical MC system may be capable of transmitting stored / received
   gestures.                                                         information to such third -party systems .
      The relationship of the client device 160 to such systems        It will be appreciated that various components of the flare
   arises by virtue of computer programs running on the mitigation system 100 may be modular such that they may
   respective computers and having a client - server relationship 40 be combined to form a modular system . For example, the
   to each other. Accordingly, each of the client devices 160 modular components that make up the natural gas process
   may have a client application running thereon, where the ing system 120 , the electrical power generation system 130 ,
   client application may be adapted to communicate with a the distributed computing system , and / or the communication
   MC application running on a MC system 1XQ and / or a system 155 may be transported to an oil filed and assembled
   distributed computing application running on a distributed 45 into the respective subsystems of the flare mitigation system
   computing system 140 , for example , over a network 150 . 100 .
   Thus, the client application may be remote from the MC              In one embodiment, the natural gas processing system
   system 180 and / or the distributed computing system 140 . 120 , electrical power generation system 130 , distributed
   Such a configuration may allow users of client applications computing system 140 and the communication system 155
   to interact with one or both of such systems from any 50 may be designed to allow all components of such systems to
   location . Moreover, because the MC system 180 is capable fit inside the height and width of a portable container, such
   of transceiving information to / from the various other syge as a shipping container or similar prefabricated enclosure
   tems (e.g. , natural gas processing system 120 , electrical that is transportable using a standard drop -deck semi-trailer.
   power generation system 130 , distributed computing system It will be appreciated that such configuration allows for
   140 , and communication system 155 ) , a user may interact 55 enhanced mobility of the flare mitigation system 100 to
   with such systems via the MC system .                       various field sites .
      As discussed in detail below , one or more MC system       Moreover, some or all of the aforementioned systems/
   applications and / or distributed computing system applica- components may be pre -mounted to a fixed skid, wheeled
   tions may be adapted to present various user interfaces to trailer or other form of mounting brackets in order to
   users . Such user interfaces may be based on information 60 simplify and expedite transportation . Key benefits of this
   stored on the client device 160 and / or received from the approach include reduced assembly time and expense in the
   respective systems. Accordingly, the application ( s) may be field , where oilfield contract labor is often more expensive
   written in any form of programming language , including than shop labor, and where contractor availability ( such as
   compiled or interpreted languages, or declarative or proce- electricians) may be constrained . Wheel -mounted solutions
   dural languages, and it can be deployed in any form , 65 may also qualify for special treatment as “ temporary equip
   including as a standalone program or as a module, compo- ment , ” facilitating expedited or reduced regulatory process
   nent, subroutine, or other unit suitable for use in a computing ing in the oilfield environment. Pre- mounting equipment
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 14
                                    of 25


                                                      US 10,862,307 B2
                                 9                                                                  10
   also allows for an operator to quickly re -mobilize the system                                TABLE 1
   100 to a new site if the original gas flow associated with the                    Exemplary Raw Natural Gas Properties
   original well declines or a new area experiences a greatly
   increased demand for flare mitigation .                                     Component                 Value
      It will be further appreciated that, the natural gas pro 5               Methane                   48-85 mol %
   cessing system 120 , electrical power generation system 130 ,               Ethane                    12-20 mol %
   distributed computing system 140 and / or the communica                     Propane                   5-15 mol %
   tion system 155 may be designed to allow for individual                     Butane + (C4+)            4-17 mol %
                                                                                                         1.5-3.5 mol %
   components of such subsystems to be added or removed , as                   CO2  + N2
                                                                               HS                        0-2.0 mol %
   necessary , to provide a flare mitigation system 100 that aims 10           Heat Value                1,200-1,715 Btu / scf
   to consume substantially all raw natural gas 101 produced at                Wobbe Index               43-57
   the wellhead 110. This configuration is important, as each                  H2O                       10-50 lbs/MMscf
   well's gas flow rate, pressure and composition will be
   unique and may change over time .                              15 As used herein , the term " fuel gas ” 202 refers to a natural
      For example, the electrical power generation system 130 gas stream that has been processed by a natural gas pro
   may be modified to include additional power generation cessing system 200 such that it may be used by an electrical
   modules and / or electrical transformation modules and the power generation system (e.g. , FIG . 1 at 130 ) to generate
   distributed computing system 140 may be modified to electrical power for a distributed computing system ( FIG . 1
   include additional mobile data centers to mitigate increas- 20 at 140 ) . It will be appreciated that the properties of the fuel
   ingly larger volumes of gas during initial flow back and peak gas 202 produced by the natural gas processing system 200
   production phases of a well's life. Conversely, modules may may vary depending on the raw natural gas and requirements
   be removed to accommodate declining flow rates. As of the employed electrical power generation system .
   another example , individual DCUs within a mobile data            Nevertheless, the fuel gas 202 will typically comprise a
   center of the distributed computing system 140 can also be 25 heat value of at least about 1,000 Btu / scf and a methane
   remotely “ turned down ” or turned off to fit gas demand with      content of at least about 80 % . In some embodiments , the fuel
   gas production at each individual wellhead 110 .               gas 202 may be processed to contain less than about 1 %
      Using the above - described system 100 , inexpensive and pentane       and higher hydrocarbons (C5 + ) components . More
   abundant stranded gas 101 can be used to power multi 30 over         , such fuel gas 202 may be optionally be processed to
   megawatt - scale power generation equipment to produce contain ( C3 + )
                                                                            less than about 5 % propane and higher hydrocarbons
                                                                           components   .
   power 105 for on - site or adjacent cryptocurrency mining         In  some   embodiments   , the produced fuel gas 202 may be
   operations. For example, the system may consume raw substantially free of particulate               solids and liquid water to
   natural gas having a heat value of at least 1,000 Btu / scf at prevent erosion , corrosion or other     damage to equipment.
   ahaving
      rate ofa 1.314 MMscfd   to power approximately 3,300 DCUS 35 Moreover, the fuel gas may be dehydrated of water vapor
                     TH/ s mining hash rate ( e.g. , ANTMINER S9sufficiently to prevent the formation of hydrates during
   mining rigs ), which is equivalent to a moderate scale com downstream processing. And, in certain embodiments, the
   mercial mining operation . The cost to power this same produced fuel gas 202 may contain no more than trace
   mining operation would be about $ 2.6 million annually amounts of components such as HZS , CO2 , and N2 .
   under a commercial power purchase agreement ( $ 0.06 / 40 As shown, the raw natural gas 201 received from the
   kwh ).                                                       wellhead 209 may first be introduced to a separator module
   Natural Gas Processing System                                210 such that liquids (e.g. , oil 291 and / or water 292 ) may be
     Referring to FIG . 2 , an exemplary natural gas processing separated and removed therefrom . Generally, the separator
   system 200 according to an embodiment is illustrated . As module 210 may comprise at least one multi -phase separa
   shown, the system 200 may comprise a separator module 45 tor, such as a 2 - phase separator ( separating liquids and gas ) ,
   210 and various optional components , such as a compressor or a 3 -phase separator ( separating oil , water, and gas ) ,
   module 215 , a CO , removal module 222 , a desulfurization      In one particular embodiment, the separator module 210
   module 224 , a dehydrator module 226 and / or a refrigerator comprises a 3 -phase separator. An exemplary 3 -phase sepa
   module 230 .                                                 rator may comprise a vessel having an inlet to receive the
     Generally , the natural gas processing system 200 is 50 raw natural gas 201 , an outlet through which free gas exits
   adapted to convert a raw natural gas stream 201 received           the vessel , an outlet through which water exits the vessel ,
   from one or more oil and /or gas wellheads 209 into a fuel gas     and an outlet through which oil exits the vessel . Upon
   stream 202 and, optionally, various secondary streams. As          entering the vessel , the raw gas 201 may encounter an inlet
   used herein , the term “ raw natural gas” or “ raw gas ” means     deflector, which causes initial separation of gas from a liquid
   unprocessed natural gas released during oil and / or gas 55 mixture of oil and water. The free gas may then rise within
   production. Raw natural gas 201 may also be referred to as the vessel , while the heavier liquid mixture descends there
   “ associated gas , ” “ flare gas , ” “ produced gas,” and / or within . And, optionally, a divertor may be employed within
   “ stranded gas .”                                                  the vessel to redirect flow of the liquid mixture and to allow
     Raw natural gas 201 at a wellhead 209 is commonly a              it to settle more readily within the vessel .
   mixture of hydrocarbons, including methane ( CH4 ), ethane 60 Once separated from the liquid , the free gas may flow
   ( C2H . ) , propane ( C2H ), butane ( C4H10 ) , pentane (C3H12), through a mist extractor that removes any entrained liquids
   hexane ( C2H14) and higher hydrocarbons. The raw natural remaining in the gas . The resulting gas stream then flows out
   gas 201 also contains other compounds such as water vapor of the top of the separator vessel , through the gas outlet.
   ( H2O ) , hydrogen sulfide (H2S ) , carbon dioxide ( CO2 ) , oxy-  As the liquid mixture settles within the separator vessel ,
   gen (O2 ) , and nitrogen ( N2). Table 1 , below , shows proper- 65 the oil separates from the water and rises out of solution . In
   ties of exemplary raw gas from wellheads in the Bakken             one embodiment, a weir plate may be employed to allow the
   Formation .                                                        oil to pour into an oil chamber or bucket, while preventing
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 15
                                    of 25


                                                       US 10,862,307 B2
                                 11                                                                  12
   the water from entering the chamber. Additionally, the 222 , a desulfurization module 224 , a dehydrator module 226
   separator may include a metal protector plate to block any and / or a refrigeration module 230 .
   splashing liquid from entering the gas outlet .                          Generally, a compressor module 215 may be employed to
      Generally , the recovered oil 291 can be directed to an oil increase the pressure of the gas stream from an initial
   storage tank or may be transported for sale via truck , rail or 5 pressure of from about 15 psi to about 50 psi , to a final
   pipe . And the water 292 may be sent to a water storage tank , pressure of from about 150 psi to about 350 psi . Such
   treated on - site , disposed of, and / or transported to a waste pressure increase may be desired or required when a refrig
   water treatment facility or other reclamation zone .                  eration module 230 is employed (discussed below ) and / or in
      In one embodiment, the separator module 210 may com cases where the fuel gas 202 is to be introduced to a power
   prise, or otherwise be placed in communication with , vari- 10 generation          module
                                                                            As a result       comprising
                                                                                          of the  pressurea turbine
                                                                                                            increase. , the compressor
   ous monitoring and / or control equipment. Such equipment module
   may be adapted to measure, determine and /or control vari (“ NGLs”215           )
                                                                                        may also remove heavy natural gas liquids
                                                                                     stream 293 comprising pentane and higher hydro
   ous operating parameters at any number of locations carbons ( C5 + ) from                   the natural gas . To that end , the com
   throughout the separator module 210. As discussed above, 15 pressor module 215 may
   such equipment may be in communication with a remote compressor units operatingcomprise                    any number of individual
                                                                                                     to raise and lower the pressure of
   MC system ( e.g. , via a network ) to allow for both ( 1 ) remote the received gas stream , during any number of compression
   monitoring and control of the separator module 210 by any stages , such that the NGLs 293 contained therein may be
   number of operators and (2 ) automatic control thereof.               liquified and removed . The resulting NGLs stream 293 may
      As an example, the separator module 210 may comprise 20 exit the compressor module 215 and may be stored in a
   any number of pressure monitors , flow meters , regulators storage tank and / or transported for sale via truck , rail or
   and / or control valves to monitor/ control gas and / or liquid pipe .
   processing parameters ( e.g. , inlet / outlet pressure, inlet /outlet    Accordingly, the compressor module 215 may produce a
   flow , level, etc. ). Such equipment may be located within one resulting gas stream comprising methane, ethane , propane,
   or more vessels , on one or more inlets and / or on one or more 25 and butane , wherein the gas stream is substantially free of
   outlets of the separator module 210 .                                 pentane and higher hydrocarbons (C5 + ) . That is , the result
      It will be appreciated that the separator module 210 may ing compressed gas stream will typically comprise less than
   further comprise any number of safety valves adapted to about 1 % C5 + hydrocarbons, such that the stream comprises
   direct flow to a safe and contained area upon overpressur- a heat content of from about 1,200 Btu / scf to about 1,500
   ization of the vessel . In one embodiment, the separator 30 Btu / scf.
   module may comply with ASME VIII , Division 1 and             In one embodiment, the compressor module 215 may
   NACE MR - 0175 for H2S environments. Additionally or comprise any number of individual compressor units. The
   alternatively, the separator module may comprise a skid compressor units may be driven by either conventional
   designed to SEPCO OPS055 and / or API RP2A standards.            piston engines or natural gas turbines, and such units are
      In certain embodiments, the separator module 210 may 35 typically fueled by a portion of the natural gas ( although
   further comprise a heater -treater component located some or all of the units may be electrically powered if
   upstream of the multi -phase separator or integral therewith . required ). The compressor units typically operate in parallel,
   Generally, the heater- treater may comprises a pressurized although some or all of the compressor units may be
   vessel , or a series of pressurized vessels , in which a bottom- operated in stages ( serially ) as desired or required.
   mounted , heat source is operated . During operation, the 40 As the gas is compressed, heat is generated and must be
   heater - treater heats the raw natural gas 201 received from dissipated to cool the gas stream before leaving the com
   the wellhead 209 by means of direct contact with the heat pressor module. Accordingly, the compressor module 215
   source and the ensuing temperature increase reduces may comprise an aerial cooler system to dissipate excess
   molecular attraction between oil and water molecules con- heat ( e.g. , an “ after cooler " ) . Additionally, the heat generated
   tained therein . Accordingly, when the heated raw natural gas 45 by operation of the individual compressor units may be
   is passed to the multi -phase separator, water droplets may dissipated via a sealed coolant system .
   settle out of the liquid more rapidly.                              The compressor module 215 may comprise, or otherwise
      In one embodiment, the gas stream produced by the be placed in communication with , various monitoring and / or
   separator module 210 may be of a sufficient quality to be control equipment adapted to monitor and / or control oper
   directly utilized as fuel gas 202 for a power generation 50 ating parameters (e.g. , gas flow and / or pressure ) across all
   module of the electrical power generation system . In such compressor units . Such equipment may be in communica
   cases , the resulting gas stream 202 may not be introduced to tion with the remote MC system (e.g. , via a network ) to
   any of the optional processing modules shown in FIG . 2 ; allow for remote monitoring and control of the compressor
   rather, it may be transferred directly to an electrical power module 215 by any number of operators and / or for auto
   generation module. It will be appreciated that, although the 55 matic control thereof.
   illustrated optional processing modules are not employed in         In certain embodiments, the natural gas processing system
   this embodiment, the fuel gas 202 may be aggregated ( e.g. , 200 may include a CO2 removal module 222 to remove CO2
   in a field gathering pipeline ) before being introduced to the 294 from the gas stream . Generally, the CO2 removal mod
   electrical power generation module. Additionally or alter- ule 222 will be employed, as required, to meet pipeline
   natively, conventional valves and/or compressors may be 60 specifications. For example, the CO2 removal module 222
   employed upstream of the electrical power generation mod- may be employed to reduce CO2 content in the gas stream
   ule to regulate the pressure of the fuel gas 202 .               to less than about 1 % CO2 .
      In other embodiments, the gas stream produced by the             In one embodiment, the CO2 removal module 222 may
   separator module 210 may require additional processing comprise one or more membranes, such as a spiral -wound
   upstream of the power generation module . In such cases , the 65 cellulose acetate membrane . Generally, the membrane oper
   natural gas processing system 200 may comprise one or ates on the principle of selective permeation , where com
   more of: a compressor module 215 , a CO , removal module ponents with higher permeation rates (e.g. , CO2 ) permeate
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 16
                                    of 25


                                                       US 10,862,307 B2
                                13                                                                   14
   through a membrane faster than those with lower permeation          to remove water 296 from the gas stream . Generally, the
   rates ( e.g. , methane, ethane and heavier hydrocarbons ).          dehydrator module 226 may be employed to reduce the
   Accordingly, the gas feed stream may be separated into a            moisture content of the gas stream to about 7 lbs /Mscf or
   hydrocarbon - rich ( residual) stream on the exterior of the       less . This mitigates the risk of damage to pipes and process
   membrane      fiber and a CO2
   interior of the membrane fiber.
                                  - rich ( permeate ) stream on the 5 equipment from blocked flow and corrosion .
                                                                         In one embodiment, the dehydrator module 226 may
      It will be appreciated that the CO2 removal module 222 comprise any number of dryer beds including one or more
   may be adaptable to various gas volumes , CO2 concentra desiccants . Exemplary desiccants include, but are not lim
   tions , and /or fuel gas specifications. Moreover, operational ited      to : activated charcoal/ carbon , alumina , calcium oxide,
   parameters of the CO2 removal module , such as pressure 10 calcium chloride, calcium sulfate, silica , silica alumina,
   difference between the feed gas and permeate gas and / or molecular sieves (e.g. , zeolites ) , and / or montmorillonite
   concentration of the permeating component, may be moni clay. In one particular embodiment, desiccant materials may
   tored and / or controlled via various equipment in communi be  present in a packed -bed configuration.
   cation with the remote MC system .
      In another embodiment, the CO2 removal module 222 15       It will be appreciated that most desiccants have a limited
   may comprise an amine sorbent system . As known in the art,         adsorption capacity and must be replaced or regenerated at
   such systems are adapted to absorb CO2 and then desorb the given service intervals. Accordingly, for continuous dehy
   CO , to atmosphere.                                        dration service , a multi - bed system may be employed where
    In one embodiment, the natural gas processing system      one or more beds are utilized while the others are being
   200 may include a desulfurization module 224 adapted to 20 replaced /regenerated. The active bed( s) can then be
   remove sulfur 295 from the gas stream . Generally, sulfur switched in and out of service as required or desired .
   exists in natural gas as hydrogen sulfide (H2S ) , and the   In another embodiment, the dehydrator module 226 may
   natural gas will typically require desulfurization when its comprise a Triethylene Glycol ( " TEG ” ) system . This system
   H2S content exceeds about 0.01 lbs /Mscf. It will be appre- contacts the wet gas with TEG , which absorbs the water
   ciated that gas containing high levels of H2S ( i.e. , “ sour 25 from the wet gas stream to produce a rich TEG stream . The
   gas ” ) is undesirable because it is both corrosive to equip- rich TEG stream is heated with a gas - fired heater and the
   ment and dangerous to breathe.                                     water is driven off in the form of water vapor to atmosphere.
       The desulfurization module 224 may employ various The lean TEG stream may then be cooled and pumped back
   technologies to “ sweeten , ” or remove sulfur from , sour gas . to contact the gas stream .
   In one embodiment, the desulfurization module 224 may 30 In other embodiments, the dehydrator module 226 may
   employ dry sorbents to capture sulfur gases in solid form remove water through the use of additives, such as methanol
   ( e.g. , as sulfates or sulfites ). In one such embodiment, a fine or ethylene glycol , which may be sprayed into the natural
   sorbent may be injected into the feed gas and the resulting gas stream to suppress the freezing point of liquid water. In
   sulfur -containing solids 295 may be collected . Exemplary yet other embodiments, dehydration may comprise a number
   dry sorbents that may be employed include, but are not 35 of steps , including active dehydration, depressurization,
   limited to , calcium oxide , magnesium oxide , and sodium regeneration , and repressurization.
   carbonate .                                                          In certain embodiments, the natural gas processing system
       In an alternative embodiment, the desulfurization module 200 may include a refrigeration module 230 comprising one
   224 may comprise a wet scrubber subsystem , such as or more mechanical refrigeration units ( “ MRU ” ). Generally ,
   venturi, packed - column, or tray - type systems . In this 40 the refrigeration module may be employed to cool natural
   embodiment, the feed gas may be contacted with a scrubbing gas in an effort to reduce the hydrocarbon dew point of the
   solution or slurry to absorb the H2S and convert it to gas ( e.g. , to meet pipeline quality specifications ) and /or to
   mercaptans, which are then drained from the spent bed in maximize NGLs recovery (e.g. , to improve the overall
   liquid form .                                                    monetary return of a natural gas stream ).
       In yet another embodiment, the desulfurization module 45 In one embodiment, the refrigeration module 230 may be
   224 may employ amine solutions to remove H S. During adapted to lower the temperature of the received gas stream
   this process, the feed gas is run through a tower containing to a target temperature, such that NGLs comprising propane
   an amine solution that absorbs sulfur. Exemplary amine and higher hydrocarbons (C3 + ) 297 may be separated there
   solutions may include , but are not limited to , monoetha- from . The target temperature may be selected to allow the
   nolamine ( “ MEA ” ) and diethanolamine (“ DEA ” ). In one 50 NGLs stream 297 to be condensed (e.g. , in a single column ),
   such embodiment, the amine solution may be regenerated without condensing substantial amounts of methane or eth
   ( i.e. , the absorbed sulfur may be removed ) and reused .       ane . Accordingly, the condensed NGLs stream 297 may be
       In certain embodiments, the sulfur -containing discharge separated and transported for sale via truck , rail or pipe ; and
   295 may be discarded . However, in other embodiments , the the resulting fuel gas stream 202 , which comprises mostly
   sulfur may be reduced to its elemental form via further 55 methane and ethane, may be transferred to the electrical
   processing and then sold . One exemplary process employed power generation module.
   to recover sulfur is known as the “ Claus process” and             In certain embodiments , the refrigeration module 230
   involves using thermal and catalytic reactions to extract the may lower the temperature of the received gas stream via
   elemental sulfur from the hydrogen sulfide solution .            heat exchange with a low temperature fluid (i.e. , a refriger
       It will be appreciated that, no matter which of the above 60 ant ). Exemplary refrigerants include , but are not limited to ,
   technologies is employed by the desulfurization module propane , propylene (CH ), n -butane, and / or ethylene
   224 , a resulting gas stream may be produced that is virtually (C2H4) . It will be appreciated that other hydrocarbon and
   free of sulfur compounds. That is , the resulting gas stream non - hydrocarbon refrigerants may additionally or alterna
   may comprise a sulfur content of less than about about 0.01 tively be employed .
   lbsMscf
        /      .                                                 65   Generally, the refrigeration module 230 may cool the
       The natural gas processing system 200 may additionally received gas stream to a target temperature of from about
   or alternatively comprise a dehydrator module 226 adapted -10 ° F. to about -32 ° F. , depending on the composition of
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 17
                                    of 25


                                                       US 10,862,307 B2
                                15                                                                16
   the received gas stream . During cooling, the pressure may be wide variety of properties. For example, certain modules
   adjusted to , or maintained at, from about 70 psi to about 510 may include a generator components adapted to utilize rich
   psi .                                                             gas , delivered directly downstream of a separator module .
      In one particular embodiment, the refrigeration module Additionally or alternatively, the power generation module
   230 may comprise a cascade refrigerator that employs two 5 331 may comprise a generator adapted to utilize fuel gas that
   or more refrigeration stages in series to achieve a lower has been processed to such that it is substantially free of
   temperature than is otherwise achievable in a single stage . propane and higher hydrocarbons (C3 + ) components.
   For example, the refrigerator may cool the gas to a first            The fuel gas consumption rate of a given generator refers
   temperature during a first stage ( i.e. , a “ high stage ” ), and to the volume of fuel gas consumed by the generator within
   then cool the gas to a second temperature that is lower than 10 a given time period. The fuel gas consumption rate may be
   the first temperature during a second stage ( i.e. , a " low determined for continuous operation of the generator at
   stage ” ).                                                        standard ambient conditions . Generally, the fuel gas con
      It will be appreciated that operational parameters of the sumption rate of engine - type generators may range from
   refrigeration module 230 may be monitored and / or con- about 40 Mscfd to about 500 Mscfd . And the fuel gas
   trolled across any number of refrigeration units via various 15 consumption rate of turbine-type generators may range from
   equipment in communication with the remote MC system .            about 1 MMscfd to about 6 MMscfd .
   Such operational parameters may include , but are not lim-       Electrical output refers to the electrical energy output by
   ited to , temperature and /or coolant recirculation rate .    a given generator after efficiency losses within the generator.
      It will be appreciated that many aspects of the system 200 This property is often referred to as " real power ” or “kWe.”
   depicted in FIG . 2 may be modified or altered to produce 20 The electrical output may be provided as " continuous
   fuel gas 202 from raw natural gas 201 received from one or power , ” which refers to the real power obtained from the
   more wellheads 209 in an oil and gas reservoir . The illus- generator when the module is operating continuously at
   trated system 200 is exemplary, and is intended to show           standard ambient conditions .
   broadly the relationship between the various aspects of the          Although nearly any generator may be employed in the
   system .                                                      25 power generation modules 331 , it has been found that
   Electrical Power Generation System                               generators that produce an electrical output of from about 70
      FIGS . 3-4 show exemplary electrical power generation kW to about 30 MW are preferred because these sizes
   systems (300 , 400 ) according to various embodiments . FIG . correlate with the quantities of fuel available in a typical
   3 shows an exemplary electrical power generation system application .
   300 comprising a power generation module 331 in electrical 30 Generally , engine- type generators may produce an elec
   communication with an electrical transformation module trical output ranging from about 70 kW to about 2 MW , with
   335. And FIG . 4 shows an exemplary electrical power an associated voltage ranging from about 480 V to about
   generation system 500 comprising a plurality of power 4.16 kV. And turbine - type generators may produce an elec
   generation modules (431a , 431b ) in a parallel configuration, trical output ranging from about 2 MW to 30 MW , with an
   wherein such modules are in electrical communication with 35 associated voltage ranging from about 4.16 kV to about 12
   a single electrical transformation module 435 .                  KV .
      Referring to FIG . 3 , an exemplary electrical power gen-       It will be appreciated that the various generator compo
   eration system 300 is illustrated . As shown , the system 300 nents employed in the power generation module 331 may be
   comprises a power generation module 331 in communica- adapted to operate reliably in harsh oilfield conditions , and
   tion with a gas supply line 320 such that it may receive fuel 40 with variability in gas rates, composition and heating values .
   gas 302 therefrom . The power generation module 331 is Moreover, it will be appreciated that the specific generator
   further shown to be in electrical communication with an employed in a power generation module 331 may be
   electrical transformation module 335 such that an electrical  selected and configured based on the specifications of the
   output 303 may be transmitted from the power generation       raw natural gas and the amount of such raw natural gas that
   module to the electrical transformation module .           45 is produced at the wellhead .
      Generally, the power generation modules 331 may com-          As shown, the power generation module 331 may be in
   prise a generator component adapted to convert fuel gas 302 further communication with a backup fuel supply 337 con
   into electrical energy 303 , various equipment for monitoring taining a backup fuel 308. In one embodiment, the backup
   and controlling the generator component, and ancillary fuel supply 337 may comprise a natural gas storage tank
   equipment to support the generator component.As discussed 50 containing pressurised natural gas (e.g. , received from the
   below , each of these components may be contained within a natural gas processing system) . In another embodiment, the
   protective housing such that the entire power generation backup fuel supply 337 may comprise an on - site reserve of
   module 331 is transportable.                                  propane . At times of low wellhead gas pressure, the backup
      In one embodiment, the power generation module 331 fuel 308 may be piped directly to the generator of the power
   may comprise a generator component adapted to generate an 55 generation module 331 , from the backup fuel supply 337 .
   electrical output 303 via combustion of the fuel gas 302 .         In one embodiment, the power generation module 331
   Generally, the generator component may employ either a           may be adapted to automatically switch between the fuel gas
   fuel - gas - driven reciprocating engine or a fuel- gas -driven  302 and the backup fuel 308. In such embodiments, the
   rotating turbine to combust the fuel gas 302 and drive an generator may utilize fuel gas 302 as long as the pressure
   electrical generator.                                         60 and /or flow rate of the fuel gas is greater than or equal to a
      The generator component may be associated with various predetermined value (e.g. , from about 20 psig to about 25
   properties, such as various input fuel requirements, a fuel psig) ; and the generator may switch to the backup fuel 308
   gas consumption rate and an electrical output . The input fuel when the pressure and / or flow rate drops below the prede
   requirements of a given generator component specify the termined value . It will be appreciated that the fuel switching
   required properties of fuel received by the generator. As 65 process may be seamless, resulting in uninterrupted electri
   discussed above , the employed power generation modules cal power generation regardless of instantaneous natural gas
   331 may be specified to operate with fuel gas 302 having a supply rates .
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 18
                                    of 25


                                                         US 10,862,307 B2
                                  17                                                                18
      In one embodiment, the power generation module 331 flow 303 by one or more “ steps down ” into a secondary
   may comprise various monitoring and control equipment in electrical flow 305 comprising a lower voltage .
   direct communication with the generator component and in     In one embodiment, the electrical transformation module
   remote communication with the MC system (e.g. , via a 335 may comprise a 1 MVA step -down transformer adapted
   network ). Such equipment may allow for automatic moni- 5 to step down the voltage of an incoming electrical flow 303
   toring of operational parameters, including but not limited          having a voltage of from about 480 V to about 4.16 kV . In
                                                                     such cases , the electrical transformation module 335 may
   to , fuel gas supply pressure, fuel gas flow rate, fuel gas convert        the incoming electrical flow 303 to a reduced - power
   characteristics, electrical output ( e.g. , frequency, voltage , output electrical
   amperage, etc. ) and / or emissions. And this configuration                         flow 305 having a voltage of about 208 V
   may further allow for automatic and / or manual control of the 10 or Alternatively
                                                                        about 240 V., when larger turbine - type power generation
   generator, which enables greater reliability and efficiency in modules 331 are employed , the electrical transformation
   remote oilfield locations where human operators are not module 335 may reduce voltage in a plurality of steps . For
   always present.                                               example , the electrical transformation module may receive
     Typically, the power  generation module 331 will further
   comprise various ancillary components ( commonly referred
                                                              is an incoming electrical flow 303 having a voltage of from
                                                                        about 4.16 kV to about 12 kV to and may step down the
   to as the “ balance of plant ” ) . Such components may include, voltage to about 480 V in a first step . And the module may
   but are not limited to , compressors, lubrication systems, then further reduce the voltage , via one or more additional
   emissions control systems, catalysts , and exhaust systems .     steps down , in order to provide a reduced - power output
        As an example , the power generation module 331 may 20 electrical flow 305 having a voltage of about 208 V.
   comprise integrated emissions reduction technologies, such          In certain embodiments, the electrical transformer module
   as but not limited to , a non - selective catalytic reduction 335 may also comprise a main breaker capable of cutting off
   (“ NSCR ” ) system or a selective catalytic reduction (“ SCR ” ) all downstream electrical flows, which allows an operator to
   system . However, even without employing such emissions quickly de - power any attached computing equipment in the
   technology, the internal combustion process employed by 25 case of operational work or emergency shut -down . Addi
   the disclosed embodiments , may significantly reduce emis- tionally or alternatively, terminals of the electrical transfor
   sions of NOx , CO and volatile organic compounds mation module 335 may be fitted with “ quick connects ,"
   ( " VOCs " ) relative to flaring. For example, an exemplary which are pre - terminated inside the module. Such quick
   electrical power generation system 300 that does not include connects allow oilfield electricians to quickly connect the
   an NSCR or SCR may reduce emissions of such compounds 30 electrical transformation module 335 to the power genera
   by about 95 % or more , as compared to flaring (e.g. , at least tion module 331 and to a component of the distributed
   95 % , at least 96 % , at least 97 % , at least 98 % , or at least   computing system without extensive on- site fabrication and
   99 % ) .                                                             termination work .
      It will be appreciated that emissions monitoring and           In the illustrated embodiment, only one power generation
   control are key permitting requirements in the oilfield . By 35 module 331 provides electrical power 303 to the electrical
   reducing emissions , the disclosed embodiments help oil and          transformation module 335. Accordingly, the power genera
   gas operators achieve environmental and regulatory benefits tion module 331 may be directly wired from a terminal of
   as well as improved community relationships.                       the power generation module 331 into a primary side of the
      In one embodiment, the power generation module 331 electrical transformation module 335 .
   may comprise a housing designed to contain and protect the 40 Although only one power generation module 331 and one
   above - described components of the module . Such housing electrical transformation module 335 is shown in FIG . 3 , it
   may provide features such as , but not limited to , weather- will be appreciated that any number of such components
   proofing, skid or trailer mounting for portability, and sound may be included in the power generation system 300. For
   attenuation .                                                      example, two or more sets of power generation modules 331
      In certain embodiments, the power generation module 45 and electrical transformation modules 335 may be
   331 may be supported by a transportable chassis, trailer, or employed, in a series configuration , to power any number of
   railcar to facilitate positioning and / or repositioning of the computing components (e.g. , mobile data centers and
   module . More particularly, the transportable chassis , trailers , DCUS ) .
   or railcars may be coupled to vehicles, such as trucks or             Generally, such equipment may be added and / or removed ,
   trains, and transported over a geographic area . The generator 50 as required, to consume substantially all available natural
   skids can range in size from an enclosed trailer hauled gas supply. Moreover, the specific generators employed in
   behind a pickup truck , to a plurality of semi- trailer loads for the power generation modules 331 , the number of such
   the generator and its required ancillary equipment.                modules, and the configuration of such modules may also be
      As shown , the electrical power generation system 300 selected with this goal in mind . For example, such equip
   further comprises an electrical transformation module 335 in 55 ment may be selected , configured, added to and /or removed
   electrical communication with the power generation module from the electrical power generation system 300 , as neces
   331. Generally, the electrical power 303 generated by the sary to allow the system to consume at least about 75 % ( e.g. ,
   power generation module 331 may be transmitted through at least about 80 % , at least about 85 % , at least about 90 % ,
   the electrical transformation module 335 such that it may be or at least about 95 % ) of the natural gas supply. In this way ,
   converted into an electrical flow 305 that is suitable for 60 the system 300 may substantially reduce the amount of
   consumption by computing equipment ( e.g. , a mobile data natural gas that must be flared during oil production.
   center and any number of DCUs of a distributed computing              Referring to FIG . 4 , another exemplary electrical power
   system )                                                           generation system 400 is illustrated . As shown , the system
      To that end, the electrical transformation module 335 may 400 comprises a plurality of power generation modules
   comprise power conditioning equipment typically including 65 (431a , 431b) in communication with a gas supply line 420
   one or more step -down transformers. Such module 335 may such that they may receive fuel gas 402 therefrom . The
   be adapted to reduce the voltage of an incoming electrical power generation modules ( 431a , 431b ) are also in electrical
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 19
                                    of 25


                                                       US 10,862,307 B2
                                 19                                                                   20
   communication with an electrical transformation module                In one embodiment, the electrical power system 530 may
   435 via a parallel panel 460. And, as discussed above, the        comprise one or more breaker panels in electrical commu
   power generation modules ( 431a , 431b ) may be in commu-         nication with a series of power distribution units ( “ PDUs” )
   nication with one or more backup fuel supplies 437 , such         or power channels. Such PDUs may also be in communi
   that they may receive backup fuel 408 (e.g. , propane ) 5 cation with the various electrical components of the mobile
   therefrom .                                                       data center 510 , such as DCUs 520 , backup power systems
      As shown , the electrical power generation system 400 540 (e.g. , batteries and / or solar panels ) , a communication
   may comprise multiple power generation modules (431a , system 555 , and / or a monitoring and control system 580 .
   431b ) connected in parallel to a single electrical transfor of Inthecertain    embodiments, the breaker panels and / or PDUs
   mation module 435. In such embodiments , the multiple 10 monitoring        power system 530 may be in communication with a
                                                                                  and control system 580 of the mobile data center
   electrical power generation modules ( 431a , 431b ) may be
   phase - synced such that their output electrical flows ( 403a , 510.     And such monitoring and control system 580 may be in
                                                                     communication with the remote MC system (FIG . 1 at 180 )
   4036 ) may be combined down - stream without misalignment via           a network such that an operator may remotely control
   of wave frequency                                              15 ( activate and / or deactivate ) these components and all elec
      Specifically, the multiple phase - synced electrical flows trical equipment        in electrical communication therewith . This
   ( 403a , 403b ) may be wired into a parallel panel 460 , which remote power control feature is important for efficiency and
   merges and synchronizes the electrical flows into a single cost reduction in remote oilfield locations, where a human
   down - stream flow 404 with singular voltage, frequency , operator may not be present. For example, PDUs may be
   current   and power metrics. This singular down -stream flow 20 remotely “ power cycled ” to reset ,reboot or restart malfunc
   404 may then be wired into a primary side of an electrical tioning equipment without the expense or time required to
   transformation module 435 for voltage modulation. For deploy a human . As another example, breaker panel
   example , as discussed above, the singular down - stream flow switches may be remotely controlled to turn on / off power to
   404 may be transmitted to the electrical transformation downstream systems without the need for human dispatch .
   module 435 such that the flow may be converted into an 25 As shown , each of the mobile data centers 510 may
   output electrical flow 405 that is suitable for consumption by comprise a plurality of DCUS 520 , wherein the DCUs are
   computing equipment (e.g. , one or more mobile data centers powered via the power system 530 and, optionally, via the
   of a distributed computing system including any number of backup power system 540. As discussed above, the DCUS
   DCUS ) .                                                          are adapted to conduct any number of processing -intensive
      In such embodiments, each of the power generation 30 tasks , such as but not limited to , graphics -intensive distrib
   modules ( 431a , 431b) and / or the parallel panel 460 may uted computing processes , server functions, storage, virtual
   comprise a control system that allows for the module to be reality and / or augmented reality applications, tasks relating
   synchronized and paralleled with other power generation to the Golem Project, non - currency blockchain applications
   modules . The control system may allow load -sharing of up and /or cryptocurrency mining operations.
   to 32 power generation modules via a data link and may 35 It will be appreciated that the number of mobile data
   provide power management capabilities, such as load -de- centers, the number of DCUS contained in each mobile data
   pendent starting and stopping, asymmetric load - sharing, and center, and / or the processing power of such DCUs may be
   priority selection . Such functionality may allow an operator selected to utilize substantially all electrical power generated
   to optimize load - sharing based on running hours and / or fuel by the electrical power generation system . Moreover, such
   consumption .                                                  40 equipment may be added and /or removed from the distrib
   Distributed Computing System                                      uted computing system 500 , as desired or required, to
      Referring to FIG . 5 , an exemplary distributed computing consume substantially all electrical power generated by the
   system 500 according to an embodiment is illustrated . As electrical power generation system . For example, the com
   shown, the system 500 may include one or more mobile data ponents of the distributed computing system may be
   centers 510 comprising various electrical components, such 45 selected, configured, added and / or removed, as necessary to
   as but not limited to : any number of DCUS 520 , a commu- allow the system 500 to consume the maximum practical
   nications system 555 , an electrical power system 530 , a amount of the power generated by the electrical power
   backup power system 540 , and / or a monitoring and control generation system ( typically in excess of 90 % of the avail
   system 580 .                                                      able power ). This allows for revenue generated from dis
      Generally , each of the mobile data centers 510 may 50 tributed computing tasks to be maximized , while also maxi
   comprise a prefabricated housing or enclosure to contain and mizing consumption of produced natural gas via the
   protect the various electronics. The enclosure may comprise electrical power generation system .
   a customized shipping container or other modular housing              As discussed above , the mobile data centers 510 and the
   system designed for portability, durability, safety, stack- various electronic components contained there ( e.g. , DCUS
   ability, ventilation, weatherproofing, dust control and opera- 55 520 , monitoring and control system 580 , power system 530
   tion in rugged oilfield conditions .                              and / or backup power system 540 ) may be connected to a
      As shown , each of the mobile data centers 510 may network via wired or wireless connection to a communica
   comprise an electrical power system 530 adapted to receive tion system 555. The communication system 555 may
   electrical power 505 from an electrical transformation mod- comprise one or more modems, network switches, and
   ule of an electrical power generation system , as discussed 60 network management computers to provide connectivity to
   above . More particularly, the power system 530 may receive the network , such as the Internet, via a fiber optic cable ,
   an output electrical flow 505 from a secondary terminal of fixed point wireless ( laser, millimeter wave towers, micro
   an electrical transformation module via cable trays, buried wave towers or the like used to relay high speed internet on
   lines and / or overhead suspended lines . In certain embodi- a line -of- sight basis ) , satellite internet, cell - based internet or
   ments , each mobile data center 510 may be fitted with quick 65 any other means of internet connection . And the components
   connects ( discussed above) , which are pre - terminated into of the communication system 555 may be distributed
   the power system 530 .                                            throughout the mobile data center 510 as required to connect
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 20
                                    of 25


                                                     US 10,862,307 B2
                               21                                                                22
   all DCUs 520 into the network and to supply sufficient data        And as yet another example, the mobile data center 510
   input and output bandwidth for all connected components. may comprise a fire suppression system designed to retard
      It will be appreciated that heat and airflow management gas and electrical fires. In one embodiment, the monitoring
   are important considerations when operating in an oilfield , and control system 580 may cause the dampers to automati
   as outside air temperatures may vary widely from extreme 5 cally seal when extreme temperatures are detected ( i.e. , to
   cold to extreme heat. Moreover, excessive dust and precipi- cut off oxygen flow to a fire inside the mobile data center ).
   tation must also be monitored and controlled during oilfield Computing Machines
   operation. Accordingly, in one embodiment, the monitoring           Referring to FIG . 6 , a block diagram is provided illus
   and control system 580 may be adapted to control various trating an exemplary computing machine 600 and modules
   parameters of the mobile data center 510 , such as tempera- 10 650 in accordance with one or more embodiments presented
   ture, moisture , oxygen , power and / or others.                 herein . The computing machine 600 may represent any of
      In one embodiment, the mobile data center 510 may be the various computing systems discussed herein , such as but
   designed with a cold aisle and a hot aisle . For example, the not limited to , the DCUS ( FIG . 5 at 520 ) , the MC system
   DCUS 520 may be located within vertically stacked, hori- (FIG . 1 at 180 ) , the client devices ( FIG . 1 at 160 ) and / or the
   zontal racks extending along a row within the mobile data 15 third - party systems (FIG . 1 at 170 ) . And the modules 650
   center ; and all of the DCUs may be positioned within the may comprise one or more hardware or software elements
   racks such that their intake fans point towards the cold aisle , configured to facilitate the computing machine 600 in per
   while their exhaust fans point in an opposite direction , forming the various methods and processing functions pre
   towards the hot aisle . It will be appreciated that one or more sented herein .
   air inlets of the mobile data center 510 may be aligned with 20 The computing machine 600 may comprise all kinds of
   the cold aisle and one or more exhausts of the mobile data apparatuses, devices , and machines for processing data ,
   center be aligned with the hot aisle .                           including but not limited to , a programmable processor, a
      In one embodiment, the hot and cold aisles may be computer, and / or multiple processors or computers . As
   isolated separated by employing a faceplate that extends shown, an exemplary computing machine 600 may include
   along the row of stacked DCUs 520 , adjacent to the exhaust- 25 various internal and / or attached components, such as a
   side thereof. Generally, the faceplate may comprise a metal, processor 610 , system bus 670 , system memory 620 , storage
   plastic , composite, wood or other thin and flat material media 640 , input/output interface 680 , and network interface
   having a plurality of precut apertures disposed therein . The     660 for communicating with a network 630.
   apertures may be positioned such that each aperture is              The computing machine 600 may be implemented as a
   aligned with an exhaust fan of one of the DCUs . And the 30 conventional computer system , an embedded controller, a
   apertures may be sized / shaped to complement the size /shape server, a laptop , a mobile device, a smartphone, a wearable
   of the DCU exhaust fans, such that each fan substantially device , a set -top box , over -the -top content TV ("OTT TV ” ),
   fills / covers each aperture and such that each fan may trans- Internet Protocol television (“ IPTV ” ), a kiosk, a vehicular
   mit exhaust through one of the apertures. Accordingly, the information system , one more processors associated with a
   faceplate forms a physical barrier between gaps in DCU 35 television, a customized machine , any other hardware plat
   exhaust fans, which helps to ensure that hot air does not form and /or combinations thereof. Moreover, a computing
   recirculate from the hot aisle back to the cold aisle .         machine may be embedded in another device , such as but
       The hot aisle may be naturally vented to an exterior of the not limited to , a smartphone, a personal digital assistant
   mobile data center 510 , for example , with direct exhaust via (“ PDA " ), a tablet , a mobile audio or video player, a game
   one or more exhaust panels or vents . Alternatively, the 40 console , a Global Positioning System ( “GPS ” ) receiver, or a
   mobile data center may include a forced air exhaust system , portable storage device (e.g. , a universal serial bus ( “USB ” )
   wherein exhaust fans force air out of the hot aisle and           flash drive ). In some embodiments , such as the DCUS , the
   exhaust to the exterior. In such embodiments, the exhaust         computing machine 600 may be a distributed system con
   fans may communicate with the monitoring and control              figured to function using multiple computing machines
   system 580 such that the fans may be automatically acti- 45 interconnected via a data network or system bus 670 .
   vated /deactivated as the temperature within the mobile data       The processor 610 may be configured to execute code or
   center increases/ decreases.                                    instructions to perform the operations and functionality
      In another embodiment, the mobile data center 510 may described herein , manage request flow and address map
   comprise various louvers, dampers, filters and / or awnings pings , and to perform calculations and generate commands .
   designed to protect against direct and wind - blown precipi- 50 The processor 610 may be configured to monitor and control
   tation, as well as excessive dust intake. In such cases , the operation of the components in the computing machine
   dampers may be connected to the monitoring and control 600. The processor 610 may be a general -purpose processor,
   system 580 such that they may be automatically closed to a processor core , a multiprocessor, a reconfigurable proces
   seal and the mobile data center in the event of a power sor, a microcontroller, a digital signal processor (“ DSP ” ), an
   failure .                                                    55 application specific integrated circuit (“ ASIC ” ), a graphics
      It will be appreciated that the mobile data center 510 may processing unit (" GPU " ), a field programmable gate array
   be further designed with various safety and security features    ( “ FPGA ” ), a programmable logic device (“ PLD " ), a con
   specific to oilfield operations. For example, the mobile data    troller, a state machine, gated logic , discrete hardware com
   center 510 may comprise one or more wireless cameras             ponents, any other processing unit, or any combination or
   controlled  by the monitoring   and control system   580 and  60 multiplicity thereof. The processor 610 may be a single
   powered by the power system 530 and / or the backup power processing unit , multiple processing units, a single process
   system 540. Such cameras may be specified for continuous ing core , multiple processing cores , special purpose process
   remote monitoring and / or motion - activated recording. As ing cores , coprocessors , or any combination thereof. In
   another example, the mobile data center 510 may comprise addition to hardware, exemplary apparatuses may comprise
   motion activated lighting systems that serve as an additional 65 code that creates an execution environment for the computer
   crime deterrent and / or that may provide sufficient light to program ( e.g. , code that constitutes one or more of: proces
   facilitate work during nighttime operations.                     sor firmware, a protocol stack , a database management
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 21
                                    of 25


                                                      US 10,862,307 B2
                                23                                                                  24
   system , an operating system , and a combination thereof).         the one or more external devices . Such external devices
   According to certain embodiments, the processor 610 and / or along with the various internal devices may also be known
   other components of the computing machine 600 may be a as peripheral devices. The I /O interface 680 may include
   virtualized computing machine executing within one or both electrical and physical connections for operably cou
   more other computing machines.                                  5 pling the various peripheral devices to the computing
      The system memory 620 may include non -volatile memo- machine 600 or the processor 610. The I /O interface 680
   ries such as read -only memory ( " ROM " ), programmable may be configured to communicate data , addresses, and
   read - only memory ( “ PROM ” ), erasable programmable read- control signals between the peripheral devices, the comput
   only memory ( “ EPROM ” ), flash memory , or any other ing machine , or the processor. The I /O interface 680 may be
   device capable of storing program instructions or data with 10 configured to implement any standard interface , such as
   or without applied power. The system memory 620 also may small computer system interface (“ SCSI” ), serial - attached
   include volatile memories, such as random -access memory SCSI (“ SAS ” ), fiber channel, peripheral component inter
   (“ RAM ” ), static random - access memory ( " SRAM ” ), connect (“ PCP ” ), PCI express (PCIe ) , serial bus , parallel
   dynamic random - access memory ( “ DRAM ” ), and synchro- bus , advanced technology attachment (“ ATA ”) , serial ATA
   nous dynamic random - access memory (" SDRAM ” ). Other 15 (“ SATA ”) , universal serial bus ( “ USB ” ), Thunderbolt, Fire
   types of RAM also may be used to implement the system Wire, various video buses , and the like . The I /O interface
   memory. The system memory 620 may be implemented may be configured to implement only one interface or bus
   using a single memory module or multiple memory mod- technology. Alternatively, the I/ O interface may be config
   ules . While the system memory is depicted as being part of ured to implement multiple interfaces or bus technologies.
   the computing machine 600 , one skilled in the art will 20 The I /O interface may be configured as part of, all of, or to
   recognize that the system memory may be separate from the operate in conjunction with , the system bus 670. The I /O
   computing machine without departing from the scope of the interface 680 may include one or more buffers for buffering
   subject technology. It should also be appreciated that the transmissions between one or more external devices, inter
   system memory may include , or operate in conjunction with , nal devices, the computing machine 600 , or the processor
   a non - volatile storage device such as the storage media 640. 25 610 .
      The storage media 640 may include a hard disk , a                 The I /O interface 680 may couple the computing machine
   compact disc read only memory ( “ CD -ROM ” ), a digital 600 to various input devices including mice , touch- screens ,
   versatile disc (“ DVD ” ), a Blu- ray disc , a magnetic tape , a scanners , biometric readers , electronic digitizers , sensors ,
   flash memory , other non - volatile memory device, a solid- receivers, touchpads, trackballs, cameras, microphones ,
   state drive ( “ SSD ” ), any magnetic storage device, any 30 keyboards, any other pointing devices , or any combinations
   optical storage device, any electrical storage device, any thereof. When coupled to the computing device, such input
   semiconductor storage device, any physical-based storage devices may receive input from a user in any form , including
   device, any other data storage device, or any combination or ac ic , speech , visual , or tactile input.
   multiplicity thereof. The storage media 640 may store one or         The I /O interface 680 may couple the computing machine
   more operating systems, application programs and program 35 600 to various output devices such that feedback may be
   modules such as module , data , or any other information . The provided to a user via any form of sensory feedback ( e.g. ,
   storage media may be part of, or connected to , the comput- visual feedback, auditory feedback, or tactile feedback ). For
   ing machine 600. The storage media may also be part of one example, a computing machine can interact with a user by
   or more other computing machines that are in communica- sending documents to and receiving documents from a
   tion with the computing machine such as servers , database 40 device that is used by the user ( e.g. , by sending web pages
   servers, cloud storage , network attached storage, and so to a web browser on a user's client device in response to
   forth .                                                           requests received from the web browser ). Exemplary output
      The modules 650 may comprise one or more hardware or devices may include, but are not limited to , displays, speak
   software elements configured to facilitate the computing           ers , printers, projectors, tactile feedback devices, automation
   machine 600 with performing the various methods and 45 control, robotic components, actuators, motors , fans, sole
   processing functions presented herein . The modules 650 noids , valves , pumps, transmitters, signal emitters, lights ,
   may include one or more sequences of instructions stored as and so forth . And exemplary displays include , but are not
   software or firmware in association with the system memory limited to , one or more of: projectors, cathode ray tube
   620 , the storage media 640 , or both . The storage media 640 (“ CRT ” ) monitors, liquid crystal displays (“LCD " ), light
   may therefore represent examples of machine or computer 50 emitting diode ( “LED " ) monitors and / or organic light- emit
   readable media on which instructions or code may be stored ting diode (“ OLED " ) monitors .
   for execution by the processor. Machine or computer read-             Embodiments of the subject matter described in this
   able media may generally refer to any medium or media specification can be implemented in a computing machine
   used to provide instructions to the processor. Such machine 600 that includes one or more of the following components:
   or computer readable media associated with the modules 55 a backend component (e.g. , a data server ); a middleware
   may comprise a computer software product. It should be component (e.g. , an application server ); a frontend compo
   appreciated that a computer software product comprising the nent ( e.g. , a client computer having a graphical user inter
   modules may also be associated with one or more processes face (“ GUI” ) and / or a web browser through which a user can
   or methods for delivering the module to the computing interact with an implementation of the subject matter
   machine 600 via the network , any signal -bearing medium , or 60 described in this specification ); and / or combinations thereof.
   any other communication or delivery technology. The mod- The components of the system can be interconnected by any
   ules 650 may also comprise hardware circuits or information form or medium of digital data communication, such as but
   for configuring hardware circuits such as microcode or not limited to , a communication network . Accordingly, the
   configuration information for an FPGA or other PLD .                computing machine 600 may operate in a networked envi
      The input /output (“ I/ O ” ) interface 680 may be configured 65 ronment using logical connections through the network
   to couple to one or more external devices , to receive data interface 660 to one or more other systems or computing
   from the one or more external devices , and to send data to        machines across a network .
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 22
                                    of 25


                                                      US 10,862,307 B2
                                25                                                                 26
      The processor 610 may be connected to the other ele- substantially all of such electrical output was utilized to
   ments of the computing machine 600 or the various periph-        power the DCUs contained within the mobile data centers.
   erals discussed herein through the system bus 670. It should
   be appreciated that the system bus 670 may be within the                                 Experiment 2
   processor, outside the processor, or both. According to some 5
   embodiments, any of the processor 610 , the other elements         In a second experiment, a flare mitigation system was
   of the computing machine 600 , or the various peripherals deployed at a well site within the D - J Basin . The flare
   discussed herein may be integrated into a single device such mitigation system included an electrical power generation
   as a system on chip ( “ SOC ” ), system on package (“ SOP ” ), system having three engine - type power generation modules
   or ASIC device .                                              10 adapted to receive fuel gas from a fuel gas supply line . A first
                                                                    1.8 MW engine- type power generation module was con
                         EXPERIMENTS                             nected to both a first electrical transformation module and a
                                                                 second electrical transformation module . A second 1.8 MW
                          Experiment 1                           engine -type power generation module was connected to both
                                                              15 a third and a fourth electrical transformation module . And a
      In a first experiment, a flare mitigation system was third 1.8 MW engine -type power generation module was
   deployed at a well site within the Bakken Field . The flare connected to both a fifth and a sixth electrical transformation
   mitigation system included an electrical power generation module .
   system having six engine -type power generation modules              Each of the first, second , third, fourth , fifth and sixth
   adapted to receive fuel gas from a fuel gas supply line. 20 electrical transformation modules comprised a 1 MVA step
   Specifically, the system included a first set of power gen- down transformer adapted to receive a 480 V input electrical
   eration modules including two 350 kW engine -type power flow from a respective , connected power generation module
   generation modules and one 225 kW engine - type power and to transform such flow into an output electrical flow
   generation module; and a second set of power generation having a voltage of 208 Vor 240 V. Each of the six electrical
   modules that also included two 350 kW engine - type power 25 transformation modules was also in electrical communica
   generation modules and one 225 kW engine - type power tion with a separate mobile data center (substantially as
   generation module .                                               described above with respect to Experiment 1 ) , such that a
      The first set of power generation modules was connected , total of six mobile data centers comprising a total of 2,100
   via a first parallel panel , to a first electrical transformation DCUs were powered via the three 1.8 MW power generation
   module comprising a 1 MVA step down transformer . And the 30 modules.
   second set of power generation modules was connected, via            The above system was found to consume fuel gas at a rate
   a second parallel panel, to a second electrical transformation of about 900 Mscfd . The system was further found to
   module comprising a 1 MVA step down transformer.                  generate an electrical output of about 5.4 MW , wherein
      The first electrical transformation module received a first    substantially all of such electrical output was utilized to
   input electrical flow from the first parallel panel having a 35 power the DCUS contained within the mobile data centers .
   voltage of 480 V and transformed the flow into a first output
   electrical flow having a voltage of 208 V. The first output                                Experiment 3
   electrical flow was then distributed, via diesel locomotive
   ( “ DLO ” ) cables on a cable tray, to an electrical power             In a third experiment, a flare mitigation system was
   system of a first mobile data center. Specifically, the DLO 40 deployed at a well site within the D - J Basin . The flare
   cables were distributed to a plurality of breaker panels ( e.g. , mitigation system included an electrical power generation
   4 or 5 ) associated with the first mobile data center; each of system comprising a 350 kW or 385 kW engine - type power
   the breaker panels was in electrical communication with 25 generation module adapted to receive fuel gas from a fuel
   to 35 PDUs ; and each of the PDUs was in electrical gas supply line . The power generation module was con
   communication with up to 4 DCUs racked within the first 45 nected to an electrical transformation module comprising a
   mobile data center. Accordingly the first set of power 0.5 MVA step - down transformer, which transformed a 480 V
   generation modules was able to support from about 400 electrical flow from the generator to a 208 V or 240 V output
   DCUs to about 700 DCUs ( depending on the number of electrical flow (as described above ) .
   breaker panels and PDUs employed ).                                    The output electrical flow was then distributed to an
       The second electrical transformation module received a 50 electrical power system of a single 20 ' by 8 ' by 9.5 ' mobile
   second input electrical flow from the second parallel panel data center, which employed power channels ( rather than
   having a voltage of 480 V and transformed the flow into a PDUs to support 264 DCUS ) . For ventilation, the mobile
   second output electrical flow having a voltage of 208 V. The data center utilized natural aspiration via direct exhaust of
   second output electrical flow was then distributed to up to DCUs to the container's exterior. Specifically, the mobile
   700 DCUs contained within a second mobile center, sub- 55 data center included a pair of awnings and protective walls
   stantially as described above with respect to the first mobile extending from the air intake ( a wall of metal gridding and
   data center.                                                        filtration material on one long axis ), as well as the air
       Each of the first and second mobile data centers measured exhaust wall (a metal grid against which DCU exhaust fans
   approximately 40 ' by 8 ' by 9.5 ' ( e.g. , the size of a High Cube were mounted directly on the other long axis ).
   shipping container ). Both mobile data centers employed 60 The above system was found to consume fuel gas at a rate
   forced air with cold air entering through louvered, screened       of about 70 Mscfd to about 80 Mscfd . Moreover, it was
   and filtered intakes on one long axis, and hot air exhausting      found that, in some cases , two paralleled 170 kW engine
   through louvered and screened fan exhausts on the other type generators could be substituted for a single 350 kW or
   long axis .                                                  385 kW engine - type generator.
     The above system was found to consume fuel gas at a rate 65 Various embodiments are described in this specification,
   of about 300 Mscfd . The system was further found to with reference to the detailed discussed above , the accom
   generate an electrical output of about 2 MW , wherein              panying drawings, and the claims . Numerous specific details
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 23
                                    of 25


                                                       US 10,862,307 B2
                                 27                                                                28
   are described to provide a thorough understanding of various          What is claimed is :
   embodiments . However, in certain instances, well -known or           1. A flare mitigation system comprising:
   conventional details are not described in order to provide a          an electrical power generation system comprising:
   concise discussion . The figures are not necessarily to scale ,         one or more power generation modules, each adapted
   and some features may be exaggerated or minimized to 5                     to:
   show details of particular components. Therefore, specific                 receive a fuel gas stream comprising a fuel gas
   structural and functional details disclosed herein are not to                associated with a heat value of at least about 1,000
   be interpreted as limiting , but merely as a basis for the                   Btu /scf; and
   claims and as a representative basis for teaching one skilled 10           consume the fuel gas stream to generate a high
   in the art to variously employ the embodiments .                             voltage electrical output associated with a first
      The embodiments described and claimed herein and                          voltage ; and
   drawings are illustrative and are not to be construed as                a parallel panel in electrical communication with each
   limiting the embodiments. The subject matter of this speci                 of the power generation modules, the parallel panel
   fication is not to be limited in scope by the specific 15                  adapted to :
   examples, as these examples are intended as illustrations of               receive the high- voltage electrical output from each
   several aspects of the embodiments . Any equivalent                          of the power generation modules; and
   examples are intended to be within the scope of the speci                  combine and synchronize said high -voltage electri
   fication . Indeed , various modifications of the disclosed                   cal outputs into a combined high -voltage electrical
   embodiments in addition to those shown and described 20                      output; and
   herein will become apparent to those skilled in the art, and            an electrical transformation module in electrical com
   such modifications are also intended to fall within the scope              munication with the parallel panel, the electrical
   of the appended claims .                                                   transformation module adapted to :
      It will be understood by those skilled in the art that the               receive the combined high- voltage electrical output;
   drawings are diagrammatic and that further items of equip- 25                  and
   ment such as temperature sensors , pressure sensors, pressure               transform the combined high -voltage electrical out
   relief valves , control valves , flow controllers, level control              put into a low -voltage electrical output associated
   lers , holding tanks, storage tanks, and the like may be                      with a second voltage that is lower than the first
   required in a commercial plant.                                               voltage ; and
     While this specification contains many specific imple          30   a distributed computing system powered by the electrical
   mentation details, these should not be construed as limita               power generation system , the distributed computing
   tions on the scope of any invention or of what may be                    system comprising :
   claimed , but rather as descriptions of features that may be             a communications system comprising one or more data
   specific to particular embodiments of particular inventions. 35            satellite antennas, the communications system
                                                                              adapted to provide a network ; and
   Certain features that are described in this specification in the        a first mobile data center comprising:
   context of separate embodiments can also be implemented in                 an enclosure defining an interior space ;
   combination in a single embodiment. Conversely, various                    a plurality of distributed computing units located
   features that are described in the context of a single embodi              within the interior space of the enclosure, each of
   ment can also be implemented in multiple embodiments 40                    the plurality of distributed computing units in
   separately or in any suitable subcombination. Moreover,                    communication with the network ; and
   although features may be described above as acting in                   a power system located at least partially within the
   certain combinations and even initially claimed as such , one              interior space of the enclosure, the power system
   or more features from a claimed combination can in some                    in electrical communication with the electrical
   cases be excised from the combination, and the claimed 45                  transformation module and the plurality of distrib
   combination may be directed to a subcombination or varia                   uted computing units such that the power system
   tion of a subcombination .                                                 receives the low -voltage electrical output and
      Similarly, while operations are depicted in the drawings in             powers each of the plurality of distributed com
                                                                              puting units.
   a particular order, this should not be understood as requiring 50 2. A system
   that such operations be performed in the particular order                        according to claim 1 , wherein :
   shown or in sequential order, or that all illustrated operations  at least one of the power generation modules comprises an
   be performed, to achieve desirable results . In certain cir          engine - type generator,
   cumstances , multitasking and parallel processing may be          the high - voltage electrical output generated by the engine
   advantageous. Moreover, the separation of various system 55 the firstgenerator
                                                                        type
                                                                               voltage
                                                                                         is from about 70 kW to about 2 MW ; and
                                                                                        is  from about 480 V to about 4.16 KV.
   modules and components in the embodiments described
   above should not be understood as requiring such separation voltage is from about 208 toV toclaim
                                                                     3. A   system   according             2 , wherein the second
                                                                                                       about 240 V.
   in all embodiments, and it should be understood that the          4. A system according to claim 3 , wherein :
   described program components and systems can generally            the high - voltage electrical output generated by the engine
   be integrated together in a single software product or pack- 60      type generator is from about 300 kW to about 400 kW ;
   aged into multiple software products.                             the first voltage is about 480 V ;
      All references including patents, patent applications and      the enclosure of the first mobile data center comprises:
   publications cited herein are incorporated herein by refer           a length of about 20 feet;
   ence in their entirety and for all purposes to the same extent       a width of about 8 feet; and
   as if each individual publication or patent or patent appli- 65      a height of from about 8.5 feet to about 9.5 feet; and
   cation was specifically and individually indicated to be          the plurality of distributed computing units comprises at
   incorporated by reference in its entirety for all purposes .         least about 200 distributed computing units .
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 24
                                    of 25


                                                       US 10,862,307 B2
                                 29                                                                 30
     5. A system according to claim 4 , wherein the electrical         10. A system according to claim 1 , wherein :
   power generation system is adapted to consume from about            at least one of the power generation modules comprises a
   50 Mscf to about 100 Mscf of fuel gas per day.                         turbine - type generator, and
     6. A system according to claim 3 , wherein :                      the  high -voltage electrical output generated by the tur
     the high -voltage electrical output generated by the engine- 5       bine - type generator comprises from about 2 MW to
        type generator is from about 1 MW to about 2 MW ;                 about 30 MW .
     the first voltage is about 480 V ;                                11. A system according to claim 10 , wherein the distrib
     the enclosure of the first mobile data center comprises:        uted computing system further comprises a second mobile
        a length of about 40 feet;                                10
                                                                     data center comprising:
        a width of about 8 feet; and                                     a second enclosure defining an interior space , the second
        a height of from about 8.5 feet to about 9.5 feet; and              enclosure having a length, width and height substan
     the plurality of distributed computing units comprises at              tially similar to the respective length , width and height
        least about 400 distributed computing units .                       of the enclosure of the first mobile data center;
     7. A system according to claim 6 , wherein the electrical 15        a second plurality of distributed computing units located
   power generation system is adapted to consume from about                 within the interior space of the second enclosure , each
   100 Mscf to about 500 Mscf of fuel gas per day.                          of the second plurality of distributed computing units in
     8. A system according to claim 6 , wherein the distributed             communication with the network ; and
   computing system further comprises a second mobile data               a second power system located at least partially within the
   center comprising:                                               20      interior space of the second enclosure, the second
      a second enclosure defining an interior space , the second            power system in electrical communication with the
         enclosure having a length , width and height substan               electrical transformation module and the second plu
         tially similar to the respective length , width and height         rality of distributed computing units such that the
         of the enclosure of the first mobile data center;                  second power system receives the low -voltage electri
      a second plurality of distributed computing units located 25          cal output and powers each of the second plurality of
         within the interior space of the second enclosure, each            distributed computing units .
         of the second plurality of distributed computing units in       12. A system according to claim 10 , wherein :
         communication with the network ; and                            the electrical power generation system further comprises :
      a second power system located at least partially within the           a second electrical transformation module in electrical
         interior space of the second enclosure, the second 30                 communication with the parallel panel , the second
         power system in electrical communication with the                     electrical transformation module adapted to :
         electrical transformation module and the second plu                   receive the combined high- voltage electrical output;
         rality of distributed computing units such that the                      and
        power system receives the low -voltage electrical output               transform the combined high -voltage electrical out
        and powers each of the second plurality of distributed 35                 put into a second low -voltage electrical output
        computing units .                                                         associated with the second voltage ; and
     9. A system according to claim 6 , wherein :                        the distributed computing system further comprises:
     the electrical power generation system further comprises:              a second mobile data center comprising:
        a second electrical transformation module in electrical                a second enclosure defining an interior space , the
          communication with the parallel panel , the second 40                   second enclosure having a length , width and
          electrical transformation module adapted to :                           height substantially similar to the respective
          receive the combined high -voltage electrical output;                 length , width and height of the enclosure of the
             and                                                                first mobile data center ;
          transform the combined high -voltage electrical out                 a second plurality of distributed computing units
             put into a second low - voltage electrical output 45               located within the interior space of the second
             associated with the second voltage ; and                           enclosure, each of the second plurality of distrib
     the distributed computing system further comprises :                       uted computing units in communication with the
        a second mobile data center comprising:                                 network ; and
          a second enclosure defining an interior space , the                 a second power system located at least partially
             second enclosure having a length, width and 50                     within the interior space of the second enclosure ,
             height substantially similar to the respective                     the second power system in electrical communi
            length, width and height of the enclosure of the                    cation with the second electrical transformation
            first mobile data center;                                           module and the second plurality of distributed
          a second plurality of distributed computing units                     computing units such that the second power sys
             located within the interior space of the second 55                 tem receives the second low -voltage electrical
             enclosure, each of the second plurality of distrib                 output and powers each of the second plurality of
             uted computing units in communication with the               distributed computing units.
             network ; and                                         13. A system according to claim 10 , wherein the second
          a second power system located at least partially voltage is from about 208 V to about 240 V.
            within the interior space of the second enclosure, 60 14. A system according to claim 1 , further comprising a
            the second power system in electrical communi- monitoring and control system in communication with the
            cation with the second electrical transformation distributed computing system via the network .
            module and the second plurality of distributed         15. A system according to claim 1 , further comprising a
            computing units such that the second power sys- natural gas processing system in communication with the
            tem receives the second low -voltage electrical 65 electrical power generation system , the natural gas process
            output and powers each of the second plurality of ing system adapted to process raw natural gas into the fuel
            distributed computing units.                         gas .
Case No. 1:22-cv-02142-NYW-STV Document 69-1 filed 10/26/22 USDC Colorado pg 25
                                    of 25


                                                      US 10,862,307 B2
                               31                                                                32
      16. A system according to claim 1 , wherein the plurality          a first mobile data center comprising:
   of distributed computing units are adapted to mine a cryp                an enclosure defining an interior space ;
   tocurrency.                                                              a plurality of distributed computing units located
      17. A flare mitigation system comprising:                                within the interior space of the enclosure , each of
     an electrical power generation system comprising:          5              the plurality of distributed computing units in
       a first power generation module adapted to :                            communication with the network ; and
          receive a first fuel gas stream comprising a fuel gas             a power system located at least partially within the
             associated with a heat value of at least about 1,000
                                                                                interior space of the enclosure , the power system
                                                                              in electrical communication with the electrical
             Btu /scf; and                                        10            transformation module and the plurality of distrib
          consume the fuel gas stream to generate a first                       uted computing units such that the power system
             high - voltage electrical output associated with a                 receives the low -voltage electrical output and
             first voltage ;                                                    powers each of the plurality of distributed com
        a second power generation module adapted to :                          puting units.
          receive a second fuel gas stream comprising the fuel 15      18. A system according to claim 17 , wherein :
            gas; and                                                   the first power generation module comprises an engine
                                                                         type generator;
           consume the second fuel gas stream to generate a        the first high -voltage electrical output is from about 70
              second high- voltage electrical output associated       kW to about 2 MW ;
              with the first voltage;                              the second power generation module comprises an
        a parallel panel in electrical communication with the 20      engine -type generator;
           first power generation module and the second power      the second high - voltage electrical output is from about 70
           generation module, the parallel panel adapted to :         kW to about 2 MW ; and
           receive the first and second igh - voltage electrical   the first voltage is from about 480 V to about 4.16 kV.
              outputs ; and                                        19. A system according to claim 18 , wherein the second
           combine and synchronize the first and second high 25 voltage  is from about 208 V to about 240 V.
              voltage electrical outputs into a combined high uted20.computing
                                                                       A system according to claim 19 , wherein the distrib
                                                                                   system further comprises a second mobile
              voltage electrical output; and                     data center comprising:
        an electrical transformation module in electrical com
          munication with the parallel panel, the electrical 30        a second enclosure defining an interior space ;
          transformation module adapted to :                           a second plurality of distributed computing units located
          receive the combined high -voltage electrical output;           within the interior space of the second enclosure , each
             and                                                          of the second plurality of distributed computing units in
          transform the combined high -voltage electrical out             communication with the network ; and
             put into a low -voltage electrical output associated      a second power system located at least partially within the
             with a second voltage that is lower than the first 35        interior space of the second enclosure, the second
             voltage; and                                                 power system in electrical communication with the
     a distributed computing system powered by the electrical             electrical transformation module and the second plu
        power generation system , the distributed computing               rality of distributed computing units such that the
        system comprising:                                                second power system receives the low - voltage electri
        a communications system comprising one or more data 40            cal output and powers each of the second plurality of
          satellite antennas, the communications system                   distributed computing units.
          adapted to provide a network ; and
